                                           62-CV-20-3837
                                                                                                 Filed in District Court
      CASE 0:20-cv-01636-JRT-HB Document 1-1 Filed 07/27/20 Page 1 of 92                           State of Minnesota
                                                                                                     7/2/2020 7:59 AM




STATE OF MINNESOTA                                                            DISTRICT COURT

COUNTY OF RAMSEY                                                 SECOND JUDICIAL DISTRICT

                                                           Case Type: Civil (Consumer Protection)

State of Minnesota, by its Attorney General,                                         62-CV-20-3737
                                                                     Court File No. ____________
Keith Ellison,

       Plaintiff,
                                                                                     SUMMONS
       vs.

American Petroleum Institute, Exxon Mobil
Corporation, ExxonMobil Oil Corporation,
Koch Industries, Inc., Flint Hills Resources LP,
Flint Hills Resources Pine Bend,

       Defendants.



       THIS SUMMONS IS DIRECTED TO:
       Exxon Mobil Corporation
       c/o Corporation Service Company
       2345 Rice St., Suite 230
       Roseville, MN 55113
       USA

       1.      YOU ARE BEING SUED. The Plaintiff has started a lawsuit against you. The

Plaintiff’s Complaint against you is on file in the office of the court administrator of the above-

named court. Do not throw these papers away. They are official papers that affect your rights.

You must respond to this lawsuit even though it may not yet be filed with the Court and there

may be no court file number on this summons.

       2.      YOU MUST REPLY WITHIN 21 DAYS TO PROTECT YOUR RIGHTS.

You must give or mail to the person who signed this summons a written response called an

Answer within 21 days of the date on which you received this Summons. You must send a copy
                                           62-CV-20-3837
                                                                                             Filed in District Court
      CASE 0:20-cv-01636-JRT-HB Document 1-1 Filed 07/27/20 Page 2 of 92                       State of Minnesota
                                                                                                 7/2/2020 7:59 AM




of your Answer to the person who signed this summons located at: 445 Minnesota Street, Suite

1400, St. Paul, Minnesota 55101.

       3.      YOU MUST RESPOND TO EACH CLAIM. The Answer is your written

response to the Plaintiff’s Complaint. In your Answer you must state whether you agree or

disagree with each paragraph of the Complaint. If you believe the Plaintiff should not be given

everything asked for in the Complaint, you must say so in your Answer.

       4.      YOU WILL LOSE YOUR CASE IF YOU DO NOT SEND A WRITTEN

RESPONSE TO THE COMPLAINT TO THE PERSON WHO SIGNED THIS

SUMMONS. If you do not Answer within 21 days, you will lose this case. You will not get to

tell your side of the story, and the Court may decide against you and award the Plaintiff

everything asked for in the Complaint. If you do not want to contest the claims stated in the

complaint, you do not need to respond. A default judgment can then be entered against you for

the relief requested in the Complaint.

       5.      LEGAL ASSISTANCE. You may wish to get legal help from a lawyer. If you

do not have a lawyer, the Court Administrator may have information about places where you can

get legal assistance. Even if you cannot get legal help, you must still provide a written

Answer to protect your rights or you may lose the case.

       6.      ALTERNATIVE DISPUTE RESOLUTION. The parties may agree to or be

ordered to participate in an alternative dispute resolution process under Rule 114 of the

Minnesota General Rules of Practice.       You must still send your written response to the

Complaint even if you expect to use alternative means of resolving this dispute.




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                                                                            Filed in District Court
     CASE 0:20-cv-01636-JRT-HB Document 1-1 Filed 07/27/20 Page 3 of 92       State of Minnesota
                                                                                7/2/2020 7:59 AM




Dated: June 25, 2020
                                       /s/ Leigh Currie
                                       Leigh Currie
                                       Special Assistant Attorney General
                                       Atty. Reg. No. 0353218
                                       445 Minnesota Street, Suite 1400
                                       St. Paul, Minnesota 55101
                                       (651) 757-1291
                                       leigh.currie@ag.state.mn.us

                                       ATTORNEY FOR STATE OF MINNESOTA




                                      3
                                           62-CV-20-3837
                                                                                                 Filed in District Court
      CASE 0:20-cv-01636-JRT-HB Document 1-1 Filed 07/27/20 Page 4 of 92                           State of Minnesota
                                                                                                     7/2/2020 7:59 AM




STATE OF MINNESOTA                                                            DISTRICT COURT

COUNTY OF RAMSEY                                                 SECOND JUDICIAL DISTRICT

                                                           Case Type: Civil (Consumer Protection)

State of Minnesota, by its Attorney General,                                         62-CV-20-3737
                                                                     Court File No. ____________
Keith Ellison,

       Plaintiff,
                                                                                     SUMMONS
       vs.

American Petroleum Institute, Exxon Mobil
Corporation, ExxonMobil Oil Corporation,
Koch Industries, Inc., Flint Hills Resources LP,
Flint Hills Resources Pine Bend,

       Defendants.



       THIS SUMMONS IS DIRECTED TO:
       ExxonMobil Oil Corporation
       c/o Prentice-Hall Corporation System Inc.
       2345 Rice St., Suite 230
       Roseville, MN 55113
       USA

       1.      YOU ARE BEING SUED. The Plaintiff has started a lawsuit against you. The

Plaintiff’s Complaint against you is on file in the office of the court administrator of the above-

named court. Do not throw these papers away. They are official papers that affect your rights.

You must respond to this lawsuit even though it may not yet be filed with the Court and there

may be no court file number on this summons.

       2.      YOU MUST REPLY WITHIN 21 DAYS TO PROTECT YOUR RIGHTS.

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                                           62-CV-20-3837
                                                                                             Filed in District Court
      CASE 0:20-cv-01636-JRT-HB Document 1-1 Filed 07/27/20 Page 5 of 92                       State of Minnesota
                                                                                                 7/2/2020 7:59 AM




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       3.      YOU MUST RESPOND TO EACH CLAIM. The Answer is your written

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everything asked for in the Complaint, you must say so in your Answer.

       4.      YOU WILL LOSE YOUR CASE IF YOU DO NOT SEND A WRITTEN

RESPONSE TO THE COMPLAINT TO THE PERSON WHO SIGNED THIS

SUMMONS. If you do not Answer within 21 days, you will lose this case. You will not get to

tell your side of the story, and the Court may decide against you and award the Plaintiff

everything asked for in the Complaint. If you do not want to contest the claims stated in the

complaint, you do not need to respond. A default judgment can then be entered against you for

the relief requested in the Complaint.

       5.      LEGAL ASSISTANCE. You may wish to get legal help from a lawyer. If you

do not have a lawyer, the Court Administrator may have information about places where you can

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Answer to protect your rights or you may lose the case.

       6.      ALTERNATIVE DISPUTE RESOLUTION. The parties may agree to or be

ordered to participate in an alternative dispute resolution process under Rule 114 of the

Minnesota General Rules of Practice.       You must still send your written response to the

Complaint even if you expect to use alternative means of resolving this dispute.




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                                                                            Filed in District Court
     CASE 0:20-cv-01636-JRT-HB Document 1-1 Filed 07/27/20 Page 6 of 92       State of Minnesota
                                                                                7/2/2020 7:59 AM




Dated: June 25, 2020
                                       /s/ Leigh Currie
                                       Leigh Currie
                                       Special Assistant Attorney General
                                       Atty. Reg. No. 0353218
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                                       St. Paul, Minnesota 55101
                                       (651) 757-1291
                                       leigh.currie@ag.state.mn.us

                                       ATTORNEY FOR STATE OF MINNESOTA




                                      3
    CASE 0:20-cv-01636-JRT-HB Document 1-1 Filed 07/27/20 Page 7 of 92




STATE OF MINNESOTA                                                DISTRICT COURT

COUNTY OF RAMSEY                                     SECOND JUDICIAL DISTRICT


                                               Case Type: Civil (Consumer Protection)

State of Minnesota, by its Attorney General,             Court File No. ____________
Keith Ellison,

       Plaintiff,
                                                                      COMPLAINT
       vs.

American Petroleum Institute, Exxon Mobil
Corporation, ExxonMobil Oil Corporation,
Koch Industries, Inc., Flint Hills Resources
LP, Flint Hills Resources Pine Bend,

       Defendants.
      CASE 0:20-cv-01636-JRT-HB Document 1-1 Filed 07/27/20 Page 8 of 92




       The State of Minnesota, by its Attorney General, Keith Ellison, for its Complaint against

Defendants alleges as follows:

                                         INTRODUCTION

       1.      Minnesota is in the midst of a climate-change crisis. The world has already

warmed approximately two degrees Fahrenheit (F) due to human-caused climate change;

Minnesota has warmed even more. Warming will continue with devastating economic and

public-health consequences across the state and, in particular, disproportionately impact people

living in poverty and people of color.

       2.      The economic devastation and public-health impacts from climate change were

caused, in large part, by a campaign of deception that Defendants orchestrated and executed with

disturbing success.

       3.      Previously unknown internal documents were recently discovered that confirm

that Defendants well understood the devastating effects that their products would cause to the

climate, including Minnesota, dating back to the 1970s and 1980s. But Defendants did not ever

disclose to the public—or to Minnesotans—their actual knowledge that would confirm the very

science they sought to undermine. Instead, Defendants, both directly and through proxies,

engaged in a public-relations campaign that was not only false, but also highly effective. This

campaign was intended to, and did, target and influence the public, and consumers, including in

Minnesota.

       4.      During the period when Defendants and their proxies were deliberately

misleading Minnesotans about the consequences of using their products, Defendants realized

massive profits through largely unabated and expanded extraction, production, promotion,

marketing, and sale of their fossil-fuel products. For example, ExxonMobil earned approximately




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$775 billion in profits during this period.1 And by 2017, while the foundations they funded were

denying legitimate climate science, Charles and David Koch of Koch Industries, Inc., were worth

a combined $84 billion.2 The six largest oil and gas companies reported an excess of $55 billion

in combined profits in 2019 alone. Just these six companies have generated $2.4 trillion in profits

since 1990.3

       5.      And during the same period, Minnesota and Minnesotans suffered the devastating

effects of climate change. Minnesota has already experienced billions of dollars of economic

harm due to climate change since Defendants began their deceptive campaign, and, without

serious mitigation, will continue to suffer billions of dollars of damage through midcentury.

       6.      If Defendants had not misled the public to pad their own pockets, Minnesota

would not have already incurred such large costs because of climate change and would not be

facing such dramatic future costs.

       7.      The State seeks to ensure that the parties who have profited from avoiding the

consequences and costs of dealing with global warming and its physical, environmental, social,

and economic consequences, bear the costs of those impacts, rather than Minnesota taxpayers,

residents, or broader segments of the public.

       8.      This action seeks to hold Defendants accountable for deliberately undermining the



1
  Matthew Tyler & Jillian Ambrose, Revealed: big oil’s profits since 1990 total nearly $2tn: BP,
Shell, Chevron and Exxon accused of making huge profits while “passing the buck” on climate
change, The Guardian (Feb. 12, 2020), https://www.theguardian.com/business/2020/feb/12/
revealed-big-oil-profits-since-1990-total-nearly-2tn-bp-shell-chevron-exxon [https://perma.cc/
GML4-AME4].
2
  Christopher Leonard, Kochland: The secret history of Koch Industries and corporate power in
America, Simon & Schuster (2019).
3
  Padding Big Oil’s Profits: Companies bank trillions, taxpayers get the bill, Taxpayers for
Common Sense (Feb. 2019), https://www.taxpayer.net/energy-natural-resources/padding-big-
oils-profits/ [https://perma.cc/2UTW-JH4B].



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science of climate change, purposefully downplaying the role that the purchase and consumption

of their products played in causing climate change and the potentially catastrophic consequences

of climate change, and for failing to fully inform the consumers and the public of their

understanding that without swift action, it would be too late to ward off the devastation.

       9.      Defendants’ unlawful actions in Minnesota contributed to the harm Minnesota is

currently suffering, and will continue to suffer, and they must be held responsible.4

                                            PARTIES

       11.     When reference in this Complaint is made to an act or omission of the

Defendants, unless specifically attributed or otherwise stated, such references should be

interpreted to mean that the officers, directors, agents, employees, or representatives of the

Defendants committed or authorized such an act or omission, or failed to adequately supervise or

properly control or direct their employees while engaged in the management, direction,

operation, or control of the affairs of Defendants, and did so while acting within the scope of

their employment or agency.

                                            PLAINTIFF

       12.     Keith Ellison, the Attorney General of the State of Minnesota, is authorized to

bring this action and seek the relief requested pursuant to his authority in Minnesota Statutes

Chapter 8 to sue for injunctive relief, equitable relief, civil penalties, and damages, together with

costs and disbursements including costs of investigation and reasonable attorney fees, for

violations of the law of this state respecting unfair, discriminatory and other unlawful practices

in business, commerce, or trade. The Attorney General also has common law authority, including


4
 This Complaint disclaims injuries arising on federal property and those that arose from
Defendants’ provision of fossil fuel products to the federal government for military and national
defense purposes.



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parens patriae authority, to bring this action to enforce Minnesota’s laws, to vindicate the State’s

sovereign and quasi-sovereign interests, and to remediate all harm arising out of—and provide

full relief for—violations of Minnesota’s laws.

                                           DEFENDANTS

                               AMERICAN PETROLEUM INSTITUTE

       13.     Defendant American Petroleum Institute (API) is a nonprofit corporation

registered to do business in Minnesota. The American Petroleum Institute was created in 1919 to

represent the American petroleum industry as a whole. With more than 600 members, API is the

country’s largest oil trade association. API asserts that it “speak[s] for the oil and gas industry to

the public, Congress and the Executive Branch, state governments and the media.”5 It claims that

it “negotiate[s] with regulatory agencies, represent[s] the industry in legal proceedings,

participate[s] in coalitions and work[s] in partnership with other associations to achieve [its]

members’ public policy goals.”6 API’s purpose is to advance the individual members’ collective

business interests, which includes increasing consumers’ consumption of oil and gas to

Defendants’ financial benefit. Among other functions, API coordinates among members of the

petroleum industry and gathers information of interest to the industry and disseminates that

information to its members.

       14.     Member companies participate in API strategy, governance, and operation

through membership dues and by contributing company officers and other personnel to API

boards, committees, and task forces. ExxonMobil and/or its predecessors-in-interest is, or has

been, a core API member at times relevant to this litigation and has had executives serving on the

5
  About API, American Petroleum Institute, https://www.api.org/about [https://perma.cc/XS58-
GKUY].
6
  Id.



                                                  5
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API Executive Committee and as API Chairman, which is akin to serving as a corporate officer.

For example, ExxonMobil’s CEO served on API’s Executive Committee almost continuously for

over 20 years (1991, 1996-97, 2001, and 2005-2016).

       15.    Relevant information was shared among API, its members, and their

predecessors-in-interest through: (a) distribution of information held by API to its members; and

(b) participation of officers and other personnel of fossil-fuel companies on API boards,

committees, and task forces. API has been a member of at least five organizations that have

promoted disinformation about fossil-fuel products to consumers, including the Global Climate

Coalition, Partnership for a Better Energy Future, Coalition for American Jobs, Alliance for

Energy and Economic Growth, and Alliance for Climate Strategies. These front groups were

formed to provide climate disinformation and advocacy from a seemingly objective source,

when, in fact, they were financed and controlled by ExxonMobil and other sellers of fossil-fuel

products. Defendants benefited from the spread of this disinformation.

       16.    API’s stated mission includes “influenc[ing] public policy in support of a strong,

viable U.S. oil and natural gas industry,” which includes increasing consumers’ consumption of

oil and gas to Defendants’ financial benefit. Through Executive Committee roles, API board

membership, and/or budgetary funding of API, ExxonMobil and other fossil-fuel companies

collectively wielded control over the policies and trade practices of API. In addition,

ExxonMobil and other fossil-fuel companies directly supervised and participated in API’s

misleading messaging regarding climate change. API and its members disseminated misleading

messaging regarding climate change to further their shared goal of influencing consumer

demand, including in Minnesota, for fossil-fuel products through long-term advertising and

communications campaigns centered on climate-change denialism. These campaigns were




                                               6
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directed nationally and in Minnesota, targeting Minnesota consumers. API continues to

participate and/or direct misleading campaigns about the dangers of fossil fuels intended to reach

consumers, policy makers, and others, including in Minnesota.

     EXXON ENTITIES – EXXON MOBIL CORPORATION AND EXXONMOBIL OIL CORPORATION

         17.    Defendant Exxon Mobil Corporation is a multinational, vertically integrated

energy and chemicals company incorporated in the State of New Jersey with a principal place of

business at 5959 Las Colinas Boulevard, Irving, Texas, 75039. In 2018, ExxonMobil reported

nearly $21 billion in profits.7

         18.    Exxon Mobil Corporation is the ultimate parent company for numerous

subsidiaries, and is liable for the unlawful actions of those subsidiaries. Exxon Mobil

Corporation is the corporation formed on November 30, 1999 by the merger of Exxon (formerly

the Standard Oil Company of New Jersey) and Mobil (formerly the Standard Oil Company of

New York). Exxon Mobil Corporation was formerly known as, did or does business as, and/or is

the successor in liability to ExxonMobil Refining and Supply Company, Exxon Chemical

U.S.A., ExxonMobil Chemical Corporation, ExxonMobil Chemical U.S.A., ExxonMobil

Refining & Supply Corporation, Exxon Company, U.S.A., Exxon Corporation, and Mobil

Corporation.

         19.    Defendant ExxonMobil Oil Corporation is a wholly owned subsidiary of Exxon

Mobil Corporation, acts on Exxon Mobil Corporation’s behalf, and is subject to Exxon Mobil

Corporation’s control. ExxonMobil Oil Corporation is incorporated in the state of New York

with its principal place of business at 5959 Las Colinas Boulevard, Irving, Texas, 75039.




7
    2018 Financial & Operating Review, ExxonMobil at 89 (hereinafter Exxon Annual Report).



                                                7
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ExxonMobil Oil Corporation was formerly known as, did or does business as, and/or is the

successor in liability to Mobil Oil Corporation.

         20.    Defendants Exxon Mobil Corporation and ExxonMobil Oil Corporation are liable

for the unlawful actions of Exxon, Mobil, and other corporate ancestors. Exxon Mobil

Corporation has provided significant funding to ExxonMobil Foundation in furtherance of the

unlawful actions described in this Complaint.

         21.    Exxon Mobil Corporation controls and has controlled companywide decisions

about the quantity and extent of fossil-fuel production and sales, including those of its

subsidiaries. Exxon Mobil Corporation recently represented that its success, including its “ability

to mitigate risk and provide attractive returns to shareholders, depends on [its] ability to

successfully manage [its] overall portfolio, including diversification among types and locations

of [its] projects.”8 Exxon Mobil Corporation determines whether and to what extent its holdings

market, produce, and/or distribute fossil-fuel products.

         22.    Exxon Mobil Corporation controls and has controlled companywide decisions

related to marketing, advertising, climate change and greenhouse-gas emissions from its fossil-

fuel products, and communications strategies concerning climate change and the link between

fossil-fuel use and impacts on the environment and communities from climate change, including

those of its subsidiaries. Exxon Mobil Corporation’s Board, or an individual/sub-set of the

Board, or another committee appointed by the Board, holds the highest level of direct

responsibility for climate-change policy within the company. Exxon Mobil Corporation’s

Chairman of the Board and Chief Executive Officer, its President and the other members of its

Management Committee are actively engaged in discussions relating to greenhouse-gas

8
    Exxon Mobil Corporation, Form 10-K (2017).



                                                   8
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emissions and the risks of climate change on an ongoing basis. Exxon Mobil Corporation

requires its subsidiaries to provide an estimate of greenhouse-gas-related emissions costs in their

economic projections when seeking funding for capital investments.

       23.     Exxon Mobil Corporation and ExxonMobil Oil Corporation (a wholly-owned

subsidiary of Exxon Mobil Corporation) are registered to do business in Minnesota as foreign

business corporations and maintain a registered agent for service of process at 2345 Rice Street,

Suite 230, Roseville, Minnesota, 55113. ExxonMobil Oil Corporation is a licensed distributor of

petroleum products in Minnesota.9

       24.     Exxon Mobil Corporation, ExxonMobil Oil Corporation and their subsidiaries

explore, develop, and produce oil and gas worldwide. Exxon Mobil Corporation is one of the

largest integrated refiners and marketers of fuels and lube basestocks, as well as the leading

manufacturer of petroleum products and finished lubricants.10

       25.     As used in this Complaint, “Exxon” or “ExxonMobil” collectively refers to

Defendants Exxon Mobil Corporation and ExxonMobil Oil Corporation and their predecessors,

successors, parents, subsidiaries, affiliates, and divisions.

       26.     ExxonMobil has and continues to tortiously market, advertise, promote, and

supply its fossil-fuel products in Minnesota, with knowledge that those products have caused and

will continue to cause climate-crisis-related injuries in Minnesota, including the State’s injuries.

Exxon’s statements in and outside of Minnesota made in furtherance of its campaign of

deception and denial, and its chronic failure to warn consumers of global-warming-related



9
  Minn. Dept. of Revenue, Petroleum Licensed Distributors,
http://www.revenue.state.mn.us/petroleum-licensed-distributors-information (follow “licensed
distributors”) (hereinafter Minnesota Petroleum Distributors).
10
   Exxon Annual Report at 27.



                                                   9
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hazards when it marketed, advertised, and sold its products both in and outside of Minnesota,

were intended to conceal and mislead the public, including the State and its residents, about the

serious adverse consequences from continued use of ExxonMobil’s products. That conduct was

intended to reach and influence the State, as well as its residents, to continue unabated use of

Defendants’ fossil-fuel products in and outside Minnesota, resulting in the State’s injuries.

       27.     A substantial portion of ExxonMobil’s fossil-fuel products are or have been

transported, traded, distributed, promoted, marketed, manufactured, sold, and/or consumed in

Minnesota, from which ExxonMobil derives and has derived substantial revenue. For example,

ExxonMobil directly and through its subsidiaries and/or predecessors-in-interest supplied

substantial quantities of fossil-fuel products, including, but not limited to, crude oil, to Minnesota

during the period relevant to this litigation. ExxonMobil conducts and controls, either directly or

through franchise agreements, retail fossil-fuel sales at over 80 gas station locations throughout

Minnesota, at which it promotes, markets, and advertises its fossil-fuel products under its Exxon

and/or Mobil brand names. During the period relevant to this Complaint, ExxonMobil sold a

substantial percentage of all retail gasoline in Minnesota. Additionally, ExxonMobil distributes,

markets, promotes, and provides its Mobil 1 products for sale at well over 150 locations

throughout the state of Minnesota, including, but not limited to, auto body and repair shops,

Costco, Sam’s Club, and Walmart locations. ExxonMobil historically directed its fossil-fuel

product advertising, marketing, and promotional campaigns to Minnesotans, including maps of

Minnesota identifying the locations of its service stations. ExxonMobil continues to market and

advertise its fossil-fuel products in Minnesota to Minnesota residents by maintaining an

interactive website available to prospective customers by which it directs Minnesota residents to

ExxonMobil’s nearby retail service stations and lubricant distributors. Further, ExxonMobil




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promotes its products in Minnesota by regularly updating and actively promoting its mobile

device application, “Exxon Mobil Rewards+,” throughout the state of Minnesota, encouraging

Minnesota users to consume fuel at its stations in Minnesota in exchange for rewards on every

fuel purchase.

     KOCH ENTITIES - KOCH INDUSTRIES, INC., FLINT HILLS RESOURCES LP, AND FLINT HILLS
                               RESOURCES PINE BEND, LLC

         28.     Defendant Koch Industries, Inc. (Koch) is an American multinational

corporation based in Wichita, Kansas. Koch is the second largest private company in the United

States and earned more than $113 billion in revenue in 2019.11

         29.     Koch is the ultimate parent company for numerous subsidiaries involved in the

manufacturing, refining, and distribution of petroleum products. Koch is liable for the unlawful

actions of those subsidiaries.

         30.     Koch also supports numerous foundations including the Charles G. Koch

Charitable Foundation, the David H. Koch Charitable Foundation, the Koch Institute, and the

Claude R. Lambe Charitable Foundation. Koch expects the foundations that it supports to fund

groups that further its financial interests. Koch constructively controls how the foundations that it

supports direct their philanthropic activities.

         31.     Koch, along with many of its subsidiaries and affiliates, is registered to do

business in Minnesota. Defendants Flint Hills Resources LP and Flint Hills Resources Pine

Bend, LLC (both subsidiaries of Koch) are licensed distributors of petroleum products in

Minnesota.12



11
   America’s Largest Private Companies, 2019 Ranking, Forbes,
https://www.forbes.com/largest-private-companies/list/#tab:rank [https://perma.cc/4PXZ-L7N4].
12
   Minnesota Petroleum Distributors.



                                                  11
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        32.     Koch subsidiaries (Koch Pipe Lines and Minnesota Pipe Line Company LLC)

import crude oil from Canada to a terminal in Clearbrook, Minnesota, which is owned and

operated by Koch. From there, the oil is piped to the Flint Hills Resources Pine Bend Refinery

via other Koch-Industries-owned pipelines.13

        33.     Koch’s Flint Hills Resources’ Pine Bend Refinery is located in Minnesota and can

process 392,000 barrels of crude oil per day. This refinery handles one quarter of all Canadian tar

sands crude entering the U.S. The Pine Bend Refinery supplies about half of Minnesota’s motor

fuel and 40 percent of Wisconsin’s, as well as the bulk of the jet fuel for the Minneapolis St. Paul

International Airport.14

        34.     As used in this Complaint, “Koch” collectively refers to Defendants Koch

Industries, Inc., Flint Hills Resources, LP, and Flint Hills Resources Pine Bend, LLC, as well as

their predecessors, successors, parents, subsidiaries, affiliates, and divisions.

        35.     Defendants direct and have directed substantial fossil-fuel-related business in

Minnesota and throughout the United States. A substantial portion of Defendants’ fossil-fuel

products are or have been refined, transported, traded, distributed, marketed, promoted,

manufactured, sold, and/or consumed in Minnesota, from which Defendants have derived

significant revenue.

        36.     Minnesota plays an outsized role in America’s oil market:

     As a state with no indigenous oil supply situated in a relatively remote and sparsely
     populated region, Minnesota would not be expected to be more than a minor
     component of North America’s oil supply system. However, the state’s strategic
     location between the oilfields of western Canada and North Dakota and the refining

13
   Minnesota’s Petroleum Infrastructure: Pipelines, Refineries, Terminals, Research Department
Minnesota House of Representatives (Oct. 2018), https://www. house.leg.state.mn.us/hrd/pubs/
petinfra.pdf [https://perma.cc/Z3GK-MTRX] (hereinafter Minnesota’s Petroleum Infrastructure).
14
   Id.



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     centers of the Midwest, the Gulf of Mexico, and the eastern coasts of the United
     States and Canada, has greatly magnified the role it plays in meeting America’s
     demand for petroleum products.15

        37.    Flint Hills Resources’ Pine Bend Refinery refines the majority of the motor

gasoline consumed in Minnesota. Koch earns significant profits from the Pine Bend refinery.

        38.    Approximately 85% of the crude oil processed by the Pine Bend Refinery

originates in Alberta, Canada from the Alberta tar sands. The rest originates in North Dakota.

        39.    The Alberta tar sands resource is being developed, in part, by ExxonMobil and

Koch. ExxonMobil and Koch earn a portion of their substantial profits from the development of

Canadian oil that is eventually refined and consumed in Minnesota. In 2014, Koch was reported

to be the largest non-Canadian leaseholder of Canada’s oil sands.16

        40.    The North Dakota Bakken oil resource is being developed, in part, by

ExxonMobil. ExxonMobil earns a portion of its substantial profits from the development of

North Dakota oil that is eventually refined and consumed in Minnesota.

        41.    Koch owns and operates portions of the pipeline system in Minnesota delivering

crude oil to the Pine Bend Refinery. A portion of Koch’s profits are from the ownership and

operation of this pipeline system.

                                           AGENCY

        42.    At all times herein mentioned, each of the Defendants was the agent, servant,

partner, aider and abettor, co-conspirator, and/or joint venturer of each of the remaining

Defendants herein and was at all times operating and acting within the purpose and scope of said

agency, service, employment, partnership, conspiracy, and joint venture and rendered substantial


15
  Id.
16
  Steven Mufson & Juliet Eilperin, The biggest foreign lease holder in Canada’s oil sands isn’t
Exxon Mobil or Chevron. It’s the Koch brothers, Washington Post (Mar. 20, 2014).



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assistance and encouragement to the other Defendants, knowing that their conduct was wrongful

and/or constituted a breach of duty.

                                  JURISDICTION AND VENUE

       43.       This Court has jurisdiction over the subject matter of this action and to grant the

relief requested pursuant to Minnesota Statutes sections 484.01, 325F.67, 325F.69 and 325D.44,

and common law.

       44.       This Court has personal jurisdiction over Defendants pursuant to the Minnesota

long-arm statute, Minnesota Statute section 543.19, because Defendants transact business and

cause harm in Minnesota, and the cause(s) of action arises out of and relates to Defendants’

business here.

       45.       Venue lies in this Court pursuant to Minnesota Statute section 542.09.

                                              FACTS

                         THE CAUSES AND EFFECTS OF CLIMATE CHANGE

       46.       Human-caused warming of the Earth is unequivocal. As a result, the atmosphere

and oceans are warming, sea level is rising, snow and ice cover is diminishing, oceans are

acidifying, and hydrologic systems have been altered, among other environmental changes.

       47.       The mechanism by which human activity causes global warming and climate

change is well established: ocean and atmospheric warming is overwhelmingly caused by

anthropogenic greenhouse-gas emissions.17

       48.       Greenhouse gases are largely byproducts of humans combusting fossil fuels to

produce energy and using fossil fuels to create petrochemical products.


17
  As used in this Complaint, the term “greenhouse gases” refers collectively to carbon dioxide
(CO2), methane, and nitrous oxide. Where a cited source refers to a specific gas or gases, or
when a process relates only to a specific gas or gases, this Complaint refers to each gas by name.



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        49.     Prior to World War II, most anthropogenic CO2 emissions were caused by land-

use practices, such as forestry and agriculture, which altered the ability of the land and global

biosphere to absorb CO2 from the atmosphere; the impacts of such activities on Earth’s climate

were relatively minor. Since that time, however, both the annual rate and total volume of

anthropogenic CO2 emissions have increased enormously following the advent of major uses of

oil, gas, and coal.

        50.     Defendants sell—or are in the business of promoting and protecting the sales of—

fossil-fuel products, including in Minnesota.

        51.     Fossil-fuel products release greenhouse gases when consumed. More than half of

all industrial emissions of CO2 have occurred since 1988.18

        52.     Because of the increased burning of fossil-fuel products, concentrations of

greenhouse gases in the atmosphere are now at a level unprecedented in at least 3 million years.19

        53.     As greenhouse gases accumulate in the atmosphere, the Earth radiates less energy

back to space. This accumulation and associated disruption of the Earth’s energy balance have

myriad environmental and physical consequences.

        54.     Without Defendants’ exacerbation of global warming caused by their conduct as

alleged herein, the current physical and environmental changes caused by global warming would




18
   Peter C. Frumhoff et al., The climate responsibilities of industrial carbon producers, Climatic
Change 132:157-171 (2015) (hereinafter Frumhoff 2015).
19
   More CO2 than ever before in 3 million years, shows unprecedented computer simulation,
Science Daily (Apr. 3, 2019); see also Climate Change 2014: Synthesis Report. Contribution of
Working Groups I, II and III to the Fifth Assessment Report of the Intergovernmental Panel on
Climate Change, 4 (2014) (hereinafter IPCC 5th Assessment).



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have been far less than those observed to date. Similarly, effects that will occur in the future

would also be far less.20

      BY THE EARLY 1980S, DEFENDANTS KNEW THAT THEIR PRODUCTS CAUSED CLIMATE
     CHANGE, THAT CLIMATE CHANGE WOULD HAVE SEVERE ENVIRONMENTAL AND SOCIAL
                CONSEQUENCES, AND THAT URGENT ACTION WAS NECESSARY

        55.      In the middle of the 20th century, scientists began to understand that burning fossil

fuels releases additional greenhouse gases, driving up the atmospheric concentration. For

example, in 1954, scientists from the California Institute of Technology submitted a research

proposal to API to study the changing carbon ratio in the atmosphere and whether it could be

explained by “industrialization and the consequent burning of large quantities of coal and

petroleum.” 21




        56.      During the 1950s, scientists were also beginning to make the connection between

the growing concentration of greenhouse gases in the atmosphere and a changing climate. For

example, in 1957, H. R. Brannon of Humble Oil (predecessor-in-interest to ExxonMobil)


20
   Peter U. Clark, et al., Consequences of Twenty-First-Century Policy for Multi-Millenial
Climate and Sea-Level Change, Nature Climate Change 6, 365 (“Our modelling suggests that the
human carbon footprint of about [470 billion tons] by 2000 . . . has already committed Earth to a
[global mean sea level] rise of ~1.7m (range of 1.2 to 2.2 m).”).
21
   Benjamin Franta, Early oil industry knowledge of CO2 and global warming, Nature Climate
Change (2018) (hereinafter Franta 2018).



                                                  16
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measured an increase in atmospheric CO2, and communicated this information to API. Brannon

published his results in the scientific literature, which was available to Defendants and/or their

predecessors-in-interest.22

       57.     In 1959, physicist Edward Teller warned petroleum industry leaders, including

high-level representatives of Defendants, of the potential for global temperature increases and

resultant sea level rise at an event organized by API.23

       58.     This awareness that began in the 1950s continued into the 1960s. For example, in

1965, President Lyndon Johnson’s Science Advisory Committee (SAC) issued a 110-page report

entitled Restoring the Quality of our Environment that included an Appendix on “Atmospheric

Carbon Dioxide” explaining, in part, how fossil-fuel combustion could lead to changes in the

CO2 concentration of the atmosphere. This report noted that burning of fossil fuels “may be

sufficient to produce measurable and perhaps marked changes in climate” by the year 2000.24

       59.     The contents of the SAC report were not widely reported to the general public.

Only a limited number of scientists and government officials at this time were familiar with the

contents of the report. But API members heard about the SAC report. At their 1965 annual

meeting, then-API-president Frank Ikard gave the following address:

       This report unquestionably will fan emotions, raise fears, and bring demands for
       action. The substance of the report is that there is still time to save the world’s
       peoples from the catastrophic consequence of pollution, but time is running out.




22
   H. R. Brannon, Jr., et al., Radiocarbon evidence on the dilution of atmospheric and oceanic
carbon by carbon from fossil fuels, American Geophysical Union Transactions 38, 643-50
(1957).
23
   See Franta 2018 (citing E. Teller, Energy patterns of the future, Energy and Man: A
Symposium 53-72 (1960)).
24
   Environmental Pollution Panel of the President’s Science Advisory Committee, Restoring the
Quality of Our Environment, at 126-27 (1965).



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       One of the most important predictions of the report is that carbon dioxide is being
       added to the earth’s atmosphere by the burning of coal, oil, and natural gas at such
       a rate that by the year 2000 the heat balance will be so modified as possibly to
       cause marked changes in climate beyond local or even national efforts. The report
       further states, and I quote: “. . . the pollution from internal combustion engines is
       so serious, and is growing so fast, that an alternative nonpolluting means of
       powering automobiles, buses, and trucks is likely to become a national
       necessity.”25

       60.     Thus, by 1965, Defendants and their predecessors-in-interest were aware that the

scientific community had found that fossil-fuel products, if used profligately, would cause global

warming by the end of the century, and that such global warming would have wide-ranging and

costly consequences.

       61.     In 1968, API received a report from the Stanford Research Institute (SRI), which

it had hired to assess the state of research on environmental pollutants, including CO2.26 The

assessment endorsed the findings of President Johnson’s SAC from three years prior, stating,

“Significant temperature changes are almost certain to occur by the year 2000, and . . . there

seems to be no doubt that the potential damage to our environment could be severe.” The

scientists warned of “melting of the Antarctic ice cap” and informed API that “[p]ast and present

studies of CO2 are detailed and seem to explain adequately the present state of CO2 in the

atmosphere.” What was missing, the scientists said, was work on “air pollution technology and

. . . systems in which CO2 emissions would be brought under control.”27

       62.     In 1969, SRI delivered a supplemental report on air pollution to API, projecting

with alarming particularity that atmospheric CO2 concentrations would reach 370 ppm by



25
   Frank Ikard, Meeting the Challenges of 1966, 13 (1965), http://www.climatefiles.com/trade-
group/american-petroleum-institute/1965-api-president-meeting-the-challenges-of-1966.
26
   Elmer Robinson & R.C. Robbins, Sources, Abundance, and Fate of Gaseous Atmospheric
Pollutants, Stanford Research Institute (Feb. 1968).
27
   Id.



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200028—almost exactly what it turned out to be (369 ppm).29 The report explicitly connected the

rise in CO2 levels to the combustion of fossil fuels, finding it “unlikely that the observed rise in

atmospheric CO2 has been due to changes in the biosphere.”

       63.     By virtue of their membership and participation in API at that time, ExxonMobil

received or should have received the SRI reports and was on notice of their conclusions.

       64.     Recently uncovered internal documents from ExxonMobil and other fossil-fuel

companies show that industry scientists became instrumental in researching the greenhouse

effect on the heels of this early science. For example, in 1969, a research project that involved

the Esso Production Research Company (now ExxonMobil) acknowledged the possible

connection between hurricane intensity and a warming climate.30

       65.     In 1972, API members received a status report on all environmental research

projects funded by API. The report summarized the 1968 SRI report describing the impact of

fossil-fuel products, including Defendants’, on the environment, including global warming and

attendant consequences. ExxonMobil’s predecessors-in-interest that received this report include,

but were not limited to: Esso Research, Ethyl (formerly affiliated with Esso, which was

subsumed by ExxonMobil), Getty, Humble Standard of New Jersey, Mobil, Skelly, and Colonial

Pipeline.31



28
   Elmer Robinson & R.C. Robbins, Sources, Abundance, and Fate of Gaseous Atmospheric
Pollutants Supplement, Stanford Research Institute (June 1969).
29
   NASA Goddard Institute for Space Studies, Global Mean CO2 Mixing Ratios (ppm):
Observations, https://data.giss.nasa.gov/modelforce/ghgases/Fig1A.ext.txt.
30
   Center for International Environmental Law, Smoke and Fumes: The Legal and Evidentiary
Basis for Holding Big Oil Accountable for the Climate Crisis, 2017 at 10 (hereinafter Smoke and
Fumes) (citing M.M. Patterson (Shell Development Co.), An Ocean Data Gathering Program for
the Gulf of Mexico, Society of Petroleum Engineers (1969)).
31
   American Petroleum Institute, Environmental Research, A Status Report, Committee for Air
and Water Conservation (Jan. 1972).



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       66.     According to recently uncovered documents, by the 1970s, executives were being

urged by their own scientists during this time to consider the industry’s role in advancing the

science of and solutions to climate change. For example, in 1978, Exxon (now ExxonMobil)

scientist Harold Weinberg proposed to colleagues that Exxon become the leader in trying to

define and counteract the “CO2 problem.” 32

       67.     The need to act quickly was also becoming clear during this period. In 1977,

Exxon scientist James Black communicated to the Exxon Corporation Management Committee

that “[p]resent thinking holds that man has a time window of five to ten years before the need for

hard decisions regarding changes in energy strategies might become critical.”33 Black also

reported that “current scientific opinion overwhelmingly favors attributing atmospheric carbon

dioxide increase to fossil fuel consumption,” and that doubling atmospheric CO2, according to

the best climate model available, would “produce a mean temperature increase of about 2°

C[elsius] to 3° C[elsius] over most of the earth,” with double to triple as much warming at the

poles. And in 1982 it was pointed out to Exxon management that “once the effects [of global

warming] are measurable, they might not be reversible.”34

       68.     Throughout the 1970s, it was becoming increasingly clear that climate change

could have serious implications for Exxon’s business model. In 1977, Exxon scientist Henry

Shaw circulated a memo to colleagues pointing out that the climatic effects of rising CO2 “may

32
   H.N. Weinberg, Interoffice Correspondence to E.J. Gornowski: CO2 (Mar. 7, 1978),
http://www.climatefiles.com/exxonmobil/1978-exxon-memo-proposing-a-worldwide-effort-to-
answer-co2-problem.
33
   James F. Black, Interoffice Correspondence to Frank G. Turpin: The Greenhouse Effect (June
6, 1978), http://www.climatefiles.com/exxonmobil/1978-exxon-memo-on-greenhouse-effect-for-
exxon-corporation-management-committee.
34
   M.B. Glaser, Memorandum to Distribution List: CO2 “Greenhouse” Effect (Nov. 12, 1982),
http://www.climatefiles.com/exxonmobil/1982-memo-to-exxon-management-about-co2-
greenhouse-effect/ (hereinafter Glaser Memo 1982).



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be the primary limiting factor on energy production from fossil fuels over the next few

centuries.”35 In a 1979 memorandum to Weinberg, Shaw wrote: “It behooves us to start a very

aggressive defensive program in the indicated areas of atmospheric science and climate because

there is a good probability that legislation affecting our business will be passed.”36 And a 1979

letter from Exxon’s director of research, Edward David, to senior vice president George T.

Piercy states that Exxon’s ongoing research “could well influence Exxon’s view about the long-

term attractiveness of coal and synthetics relative to nuclear and solar energy.”37

       69.     An Exxon internal document from 1979 summarizes the state of the science at

that time, reaching the damning conclusion that the present trend of fossil-fuel consumption

would cause dramatic effects before 2050:38




35
   Henry Shaw, Interoffice Correspondence to John W. Harrison: Environmental Effects of
Carbon Dioxide (Oct. 31, 1977), http://www.climatefiles.com/exxonmobil/1977-exxon-memo-
about-doe-environmental-advisory-committee-subgroup-studying-co2-effects.
36
   Henry Shaw, Interoffice Correspondence to H.N. Weinberg: Research in Atmospheric Science
(Nov. 19, 1979), http://www.climatefiles.com/exxonmobil/1979-exxon-memo-on-atmospheric-
science-research-to-influence-legislation.
37
   Edward David, Proprietary Memorandum to George Piercy (Nov. 9, 1979),
https://insideclimatenews.org/documents/letters-senior-vps-1980.
38
   R.L. Mastracchio & L.E. Hill, Proprietary Memorandum to R. L. Hirsch: Controlling
Atmospheric CO2 (Oct. 16, 1979), http://www.climatefiles.com/exxonmobil/1979-exxon-memo-
on-potential-impact-of-fossil-fuel-combustion.



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       70.    In 1979, API and its members, including Defendants, convened a Task Force to

monitor and share cutting edge climate research among the oil industry. The group was initially

called the CO2 and Climate Task Force, but in 1980 changed its name to the Climate and Energy

Task Force (hereinafter referred to as “API CO2 Task Force”). Membership included senior

scientists and engineers from nearly every major U.S. and multinational oil-and-gas company,

including Exxon and Mobil (ExxonMobil), among others. The Task Force was charged with

monitoring government and academic research, evaluating the implications of emerging science

for the petroleum and gas industries, and identifying where reductions in greenhouse-gas

emissions from Defendants’ fossil-fuel products could be made.

       71.    In 1979, API prepared a background paper on CO2 and climate for the API CO2

Task Force, stating that CO2 concentrations were rising steadily in the atmosphere, and

predicting when the first clear effects of global warming might be detected. The API reported to

its members that although global warming would occur, it would likely go undetected until




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approximately the year 2000, because, the API believed, its effects were being temporarily

masked by a natural cooling trend. However, this cooling trend, the API warned its members,

would reverse around 1990, adding to the warming caused by CO2.

       72.     In 1980, the API CO2 Task Force invited Dr. John Laurmann, “a recognized

expert in the field of CO2 and climate,” to present to its members.39 The meeting lasted for seven

hours and included a “complete technical discussion” of global warming caused by fossil fuels,

including “the scientific basis and technical evidence of CO2 buildup, impact on society,

methods of modeling and their consequences, uncertainties, policy implications, and conclusions

that can be drawn from present knowledge.” Representatives from Exxon and API were present,

and the minutes of the meeting were distributed to the entire API CO2 Task Force. Laurmann

informed the Task Force of the “scientific consensus on the potential for large future climatic

response to increased CO2 levels” and that there was “strong empirical evidence that [the carbon

dioxide] rise [was] caused by anthropogenic release of CO2, mainly from fossil fuel burning.”

Unless fossil-fuel production and use were controlled, atmospheric CO2 would be twice

preindustrial levels by 2038, with “likely impacts” along the following trajectory:




39
  Jimmie J. Nelson, American Petroleum Institute, The CO2 Problem; Addressing Research
Agenda Development (Mar. 18, 1980), https://www.industrydocuments.ucsf.edu/docs/gffl0228.



                                                23
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       73.    The 1980s revealed an established consensus among scientists. A 1980

memorandum from the Exxon Research and Engineering Company states that “[t]here is little

doubt that these observations indicate a growth in atmospheric CO2. It is also believed that the

growth of atmospheric CO2 has been occurring since the middle of the past century i.e.,

coincident with the start of the Industrial Revolution.”40 And a 1982 internal Exxon document

(the “Cohen/Levine Memo”) explicitly declares that the science was “unanimous” and that

climate change would “bring about significant changes in the earth’s climate”:

       [O]ver the past several years a clear scientific consensus has emerged regarding
       the expected climatic effects of increased atmospheric CO2. The consensus is that
       a doubling of atmospheric CO2 from its pre-industrial revolution value would
       result in an average global temperature rise of (3.0 + 1.5)° C. . . . There is
       unanimous agreement in the scientific community that a temperature increase of
       this magnitude would bring about significant changes in the earth’s climate,
       including rainfall distribution and alterations in the biosphere.41

       74.    In 1980, Imperial Oil Limited (a Canadian ExxonMobil subsidiary) reported to

managers and environmental staff at multiple affiliated Esso and Exxon companies that there

was “no doubt” that fossil fuels were aggravating the build-up of CO2 in the atmosphere.42

Imperial noted that “Technology exists to remove CO2 from stack gases but removal of only 50%

of the CO2 would double the cost of power generation.”

       75.    In addition to the recognition of a scientific consensus about climate-change

science, the 1980s brought increasingly dire warnings about the potential consequences of its

40
   Henry Shaw, General 7A Memorandum to T.K. Kett: CO2 Greenhouse Effect (Dec. 18, 1980)
(emphasis added), http://www.climatefiles.com/exxonmobil/1980-exxon-memo-on-the-co2-
greenhouse-effect-and-current-programs-studying-the-issue.
41
   Roger Cohen & Duane Levine, Memorandum to A.M. Natkin (Aug. 25, 1982) (emphasis
added), http://www.climatefiles.com/exxonmobil/1982-exxon-memo-summarizing-climate-
modeling-and-co2-greenhouse-effect-research.
42
   Imperial Oil Ltd, Review of Environmental Protection Activities for 1978-1979 (Aug. 6, 1980),
http://www.documentcloud.org/documents/2827784-1980-Imperial-Oil-Review-of-
Environmental.html#document/p2.



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impact. For example, in 1981, Roger Cohen, an Exxon researcher, circulated a memorandum in

which he disagreed that climate change would be “well short of catastrophic”:43




       76.    In 1982, Exxon’s Environmental Affairs Manager distributed a primer on climate

change to a “wide circulation [of] Exxon management . . . intended to familiarize Exxon




43
   Roger Cohen, Interoffice Correspondence to W. Glass (Aug. 18, 1981)
http://www.climatefiles.com/exxonmobil/1981-exxon-memo-on-possible-emission-
consequences-of-fossil-fuel-consumption.



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personnel with the subject.”44 The primer was “restricted to Exxon personnel and not to be

distributed externally.” The primer warned of “uneven global distribution of increased rainfall

and increased evaporation,” that “disturbances in the existing global water distribution balance

would have dramatic impact on soil moisture, and in turn, on agriculture,” and that the American

Midwest would dry out. In addition to effects on global agriculture, the report stated, “there are

some potentially catastrophic effects that must be considered.” Melting of the Antarctic ice sheet

could result in global sea level rise of five meters, which would “cause flooding on much of the

U.S. East Coast, including the State of Florida and Washington, D.C.” Weeds and pests would

“tend to thrive with increasing global temperature.” The primer warned of “positive feedback

mechanisms” in polar regions, which could accelerate global warming, such as deposits of peat

“containing large reservoirs of organic carbon” becoming “exposed to oxidation” and releasing

their carbon into the atmosphere. “Similarly,” the primer warned, “thawing might also release

large quantities of carbon currently sequestered as methane hydrates” on the sea floor. “All

biological systems would be affected,” and “the most severe economic effects could be on

agriculture.” The report recommended studying “soil erosion, salinization, or the collapse of

irrigation systems” in order to understand how society might be affected and might respond to

global warming, as well as “[h]ealth effects” and “stress associated with climate related famine

or migration[.]” The report estimated that undertaking “[s]ome adaptive measures” (not all of

them) would cost “a few percent of the gross national product estimated in the middle of the next

century.”45 To avoid such impacts, the report discussed an analysis from the Massachusetts

Institute of Technology and Oak Ridge National Laboratory, which studied energy alternatives

44
  Glaser Memo 1982.
45
  For 2018 Gross National Product, see Federal Reserve Bank of St. Louis, Gross National
Product, https://fred.stlouisfed.org/series/GNPA.



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and requirements for introducing them into widespread use, and which recommended that

“vigorous development of non-fossil energy sources be initiated as soon as possible.”46 The

primer also noted that other greenhouse gases related to fossil-fuel production, such as methane,

could contribute significantly to global warming, and that concerns over CO2 could be reduced if

fossil-fuel use were decreased due to “high price, scarcity, [or] unavailability.” “Mitigation of the

‘greenhouse effect’ would require major reductions in fossil fuel combustion,” the primer stated.

The primer was widely distributed to Exxon leadership.

       77.     Professor Martin Hoffert, a former New York University physicist who

researched climate change as an Exxon consultant in the 1980s, later stated the following in

sworn testimony before Congress:

       [O]ur research [at Exxon] was consistent with findings of the United Nations
       Intergovernmental Panel on Climate Change on human impacts of fossil fuel
       burning, which is that they are increasingly having a perceptible influence on
       Earth’s climate. . . . If anything, adverse climate change from elevated CO2 is
       proceeding faster than the average of the prior IPCC [Intergovernmental Panel on
       Climate Change] mild projections and fully consistent with what we knew back in
       the early 1980s at Exxon. . . . I was greatly distressed by the climate science
       denial program campaign that Exxon’s front office launched around the time I
       stopped working as a consultant—but not collaborator—for Exxon. The
       advertisements that Exxon ran in major newspapers raising doubt about climate
       change were contradicted by the scientific work we had done and continue to do.
       Exxon was publicly promoting views that its own scientists knew were wrong,
       and we knew that because we were the major group working on this.47




46
   Glaser Memo 1982.
47
   Statement of Martin Hoffert, Examining the Oil Industry’s Efforts to Suppress the Truth About
Climate Change, Hearing Before the Committee on Oversight and Reform, U.S. House of
Representatives (Oct. 23, 2019), https://oversight.house.gov/legislation/hearings/examining-the-
oil-industry-s-efforts-to-suppress-the-truth-about-climate-change.



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       78.     Ken Croasdale, a senior ice researcher for Exxon’s subsidiary Imperial Oil, stated

to an audience of engineers in 1991 that greenhouse gases are rising “due to the burning of fossil

fuels. Nobody disputes this fact.”48

       79.     During the 1980s, the API, including the API CO2 Task Force, provided a forum

for fossil-fuel companies to share their research efforts and corroborate their findings related to

anthropogenic greenhouse-gas emissions.49 “The group’s members included senior scientists and

engineers from nearly every major U.S. and multinational oil and gas company[.]”50

       80.     Koch also understood climate-change science, the connection to sales of its fossil-

fuel products, and the potential for catastrophic consequences before the science was widely

understood by the general public.

       81.     The late 1980s and early 1990s also marked a turning point. Climate change

began to be more widely recognized and publicly discussed. In 1988, James Hansen, a National

Aeronautics Space Administration scientist, asserted at a congressional hearing “with 99%

confidence” that global warming was already occurring.51 The same year, the United Nations

formed the IPCC and members of U.S. Congress introduced “The National Energy Policy Act of

1988,” which intended to “establish a national energy policy that will quickly reduce the

generation of carbon dioxide and [other] trace gases as quickly as is feasible in order to slow the




48
   Ronald C. Kramer, Carbon Criminals, Climate Crimes (1st ed. 2020).
49
   Neela Banerjee, Exxon’s Oil Industry Peers Knew About Climate Dangers in the 1970s, Too,
Inside Climate News (Dec. 22, 2015), https://insideclimatenews.org/news/22122015/exxon-
mobil-oil-industry-peers-knew-about-climate-change-dangers-1970s-american-petroleum-
institute-api-shell-chevron-texaco [https://perma.cc/QB22-KP6G].
50
   Id.
51
   Amy Lieberman & Susanne Rust, Big Oil braced for global warming while it fought
regulations, Los Angeles Times (Dec. 31, 2015) (hereinafter Lieberman & Rust 2015).



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pace and degree of atmospheric warming . . . to protect the global environment.”52 In 1992, the

United Nations held its Earth Summit in Rio de Janeiro and adopted the United Nations

Framework Convention on Climate Change (UNFCCC), which is an international treaty with the

aim of stabilizing the concentration of greenhouse gases to avoid the most catastrophic impacts

of climate change. By 1997, the UNFCCC had adopted the Kyoto Protocol, which put the

obligation to reduce greenhouse-gas emissions on developed countries on the basis that they are

historically responsible for the rising levels of greenhouse gases in the atmosphere.

       82.     Between 1990 and 2013, the IPCC expressed increasing confidence about the link

between human activity and climate change.53 Yet during this time, Defendants worked to

undermine the public’s perception of the growing scientific consensus around climate change:




52
   Frumhoff 2015.
53
   Lisa Song et al., Exxon Confirmed Global Warming Consensus in 1982 with In-House Climate
Models, Inside Climate News (Sept. 22, 2015),
https://insideclimatenews.org/news/18092015/exxon-confirmed-global-warming-consensus-in-
1982-with-in-house-climate-models [https://perma.cc/93KF-SG3J].



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       83.    The onset of the public awareness of climate change and its consequences thus

marked the beginning of Defendants’ campaign of deception. As described below, Defendants

began a purposeful, coordinated public-relations campaign to magnify and exaggerate the

scientific uncertainty surrounding climate science, to dissuade mitigation efforts, and to avoid

any meaningful changes to their ability to continue earning profits under their business-as-usual




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approach. This campaign was intended to and did reach and influence Minnesota consumers,

along with consumers elsewhere.

    DEFENDANTS MADE MISLEADING STATEMENTS ABOUT CLIMATE CHANGE SCIENCE,
    WITHHELD THEIR SUPERIOR KNOWLEDGE, AND FAILED TO WARN THE PUBLIC OF THE
         CONSEQUENCES OF CONTINUING TO CONSUME DEFENDANTS’ PRODUCTS

       84.     Despite their superior understanding of climate change science, the potentially

catastrophic impacts of climate change, and the need to act swiftly, Defendants did not

disseminate this information to the public or consumers. Instead, they engaged in a conspiracy to

misrepresent the scientific understanding of climate change, the role of Defendants’ products in

causing climate change, the potential harmful consequences of climate change, and the urgency

of action required to mitigate climate change. This conspiracy was intended to, and did, target

and influence the public and consumers, including in Minnesota.

       85.     Defendants had a duty to disclose their superior information to the public because

it was not otherwise known or available to the general public.

       86.     In addition, once Defendants chose to speak on the subject of climate change,

they had a duty to do so in a way that was not misleading.

       87.     Instead, they engaged in a campaign of deception.

       88.     The campaign involved Defendants making misleading statements in advertising

and other public materials directed at consumers and the general public, paying outside

organizations to make misleading statements in advertising and other public materials directed at

consumers and the general public, and paying scientists to produce misleading materials that

were then cited and promoted by Defendants and outside organizations to lend credibility to their

misleading statements. They did this all while failing to inform consumers, including those in

Minnesota, and the general public of their superior knowledge to the contrary.




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       89.      This deliberate campaign of deception and half-truths is described, in part, by

internal strategy documents:

      A 1988 ExxonMobil internal document states that Exxon “is providing leadership
       through API in developing the petroleum industry position” on “the greenhouse effect”
       and goes on to describe the “Exxon Position.” The Exxon Position was to:
           o “Emphasize the uncertainty in scientific conclusions regarding the potential
              enhanced Greenhouse effect.
           o Urge a balanced scientific approach.
           o Due to current scientific uncertainty, Exxon is not conducting specific impact
              studies with respect to particular company operations or geographic regions.
           o Exxon has not modified its energy outlook or forecasts to account for possible
              changes in fossil fuel demand or utilization due to the Greenhouse effect.
           o Resist overstatement and sensationalization of potential Greenhouse effect which
              could lead to noneconomic development of nonfossil fuel resources.”54

      A 1991 internal strategy document for the Information Council for the Environment
       (ICE—a front group created by the coal industry) describes its strategy as one to
       “reposition global warming as theory (not fact).”55 The group planned to particularly
       target younger, lower-income women with its deceptive messages, noting that:

             These women are more receptive than other audience segments to factual
             information concerning evidence for global warming. They are likely to be
             ‘green’ consumers, to believe the earth is warming, and to think the problem
             is serious. However, they are also likely to soften their support for federal
             legislation after hearing new information on global warming.56

       The following images are examples of ICE-funded print advertisements challenging the
       validity of climate science and intended to obscure the scientific consensus on
       anthropogenic climate change and induce political inertia to address it.57




54
   Joseph M. Carlson, Memorandum on The Greenhouse Effect (Aug. 3, 1988),
http://www.climatefiles.com/exxonmobil/566.
55
   Bill Brier, Correspondence to O. Mark De Michele (May 6, 1991),
http://www.climatefiles.com/denial-groups/ice-ad-campaign.
56
   Id.
57
   Union of Concerned Scientists, Deception Dossier #5: Coal’s “Information Council on the
Environment” Sham (July 2015), https://www.ucsusa.org/sites/default/files/attach/2015/07/The-
Climate-Deception-Dossiers.pdf &
http://www.ucsusa.org/sites/default/files/attach/2015/07/Climate-Deception-Dossier-5_ICE.pdf
47-49.



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      A 1998 internal strategy document written by a team convened by API describes the plan
       to defeat the UNFCCC’s Kyoto protocol by emphasizing that “it is not known for sure
       whether (a) climate change actually is occurring, or (b) if it is, whether humans really
       have any influence on it.”58 The memo states that “victory” would be achieved when
       average citizens and the media were convinced that uncertainties existed in climate




58
   Joe Walker, Global Climate Science Communications Plan (Apr. 3, 1998),
http://www.climatefiles.com/trade-group/american-petroleum-institute/1998-global-climate-
science-communications-team-action-plan/.



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       science and were then “stimulat[ed] . . . to raise questions with policy makers.”59
       Ultimately, Defendants sought to:

             raise such serious questions about the Kyoto treaty’s scientific underpinnings
             that American policy-makers not only will refuse to endorse it, they will seek
             to prevent progress toward implementation at the Buenos Aires meeting in
             November or through other ways. Informing teachers/students about
             uncertainties in climate science will begin to erect a barrier against further
             efforts to impose Kyoto-like measures in the future.60

      A 2006 memorandum from the Intermountain Rule Electric Association outlines a
       strategy to combat climate change “alarmists” through a campaign focused on science,
       information dissemination, and politics.61 The memorandum describes, inter alia,
       strategies undertaken by Koch:




       90.      In furtherance of the strategies described in these memoranda, Defendants made

misleading statements about climate change, the relationship between climate change and their

fossil-fuel products, and the urgency of the problem. Defendants made these statements in public

fora and in advertisements published in newspapers and other media with substantial circulation

to Minnesota, including national publications such as the New York Times, Wall Street Journal,

and Washington Post. Examples of misleading statements made by Defendants include:

      In 1996, then-Chairman of Exxon Corporation Lee Raymond misleadingly wrote in an
       internal publication that “taking drastic action immediately is unnecessary since many
       scientists agree there’s ample time to better understand the climate system.” Raymond
       also misleadingly implied that climate change was an “unproven theory”: “[A]

59
   Id.
60
   Id.
61
   Stanley R. Lewandowski, Jr., IREA Memorandum (July 17, 2006),
https://assets.documentcloud.org/documents/4519366/2006-Intermountain-Rural-Electric-Assoc-
IREA-Memo.pdf.



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          multinational effort, under the auspices of the United Nations, is underway to cut the use
          of fossil fuels, based on the unproven theory that they affect the earth’s climate.”62 He did
          not warn of Exxon’s contrary scientific findings, such as those documented in the 1982
          Cohen/Levine Memo.

         In another article in the same internal publication, Exxon misleadingly failed to
          acknowledge the potentially catastrophic consequences of climate change, instead
          insisting that the greenhouse effect is “definitely a good thing.” Exxon misleadingly
          stated that “the indications are that a warmer world would be far more benign than many
          imagine . . . moderate warming would reduce mortality rates in the US, so a slightly
          warmer climate would be more healthful.”63 The article did not warn of Exxon’s earlier
          conclusion that significant sea level rise would cause catastrophic flooding.

         API published an extensive report in 1996 warning against concern over CO2 buildup and
          any need to curb consumption or regulate the fossil-fuel industry. The introduction stated
          that “there is no persuasive basis for forcing Americans to dramatically change their
          lifestyles to use less oil.” The authors discouraged the further development of certain
          alternative energy sources, writing that “government agencies have advocated the
          increased use of ethanol and the electric car, without the facts to support the assertion that
          either is superior to existing fuels and technologies” and that “policies that mandate
          replacing oil with specific alternative fuel technologies freeze progress at the current
          level of technology, and reduce the chance that innovation will develop better solutions.”
          The paper also denied the human connection to climate change, by falsely stating that no
          “scientific evidence exists that human activities are significantly affecting sea levels,
          rainfall, surface temperatures or the intensity and frequency of storms.” The report’s
          message was false but clear: “Facts don’t support the arguments for restraining oil use.”64

         At a 1997 gathering of energy executives at the World Petroleum Congress in Beijing,
          Raymond falsely claimed that the impact of climate change was uncertain, and
          misleadingly asserted that the problem was not urgent: “It is highly unlikely that the
          temperature in the middle of the next century will be affected whether policies are
          enacted now or 20 years from now.” He stated, “Many people—politicians and the public
          alike—believe that global warming is a rock-solid certainty, but it’s not.” He also falsely
          stated that “[t]he earth is cooler today than it was 20 years ago.”65 He did not warn of the

62
   Lee Raymond, Climate change: don’t ignore the facts (Fall 1996),
http://www.climatefiles.com/exxonmobil/global-warming-who-is-right-1996.
63
   Johnathan H. Adler, Global warming: What to think? What to do? (Fall 1996),
http://www.climatefiles.com/exxonmobil/global-warming-who-is-right-1996.
64
   Sally Brain Gentille et al., Reinventing Energy: Making the Right Choices, American
Petroleum Institute (1996), http://www.climatefiles.com/trade-group/american-petroleum-
institute/1996-reinventing-energy.
65
   Lee Raymond, Energy—key to growth and a better environment for Asia-Pacific nations (Oct.
13, 1997), http://www.climatefiles.com/exxonmobil/1997-exxon-lee-raymond-speech-at-world-
petroleum-congress/.



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       contrary findings from the Cohen/Levine Memo or any of the other contrary findings by
       Exxon and industry scientists.

      In 1997, Mobil (now ExxonMobil) misleadingly implied in a New York Times advertorial
       (a paid advertisement published alongside a newspaper’s editorials and designed to
       appear as if it were an editorial itself) that the science of climate change was too
       uncertain to try to reduce emissions and that it was not determined what role fossil fuels
       play in causing climate change:

                  Let’s face it: The science of climate change is too uncertain to mandate
                  a plan of action that could plunge economies into turmoil . . . .
                  Scientists cannot predict with certainty if temperatures will increase,
                  by how much and where changes will occur. We still don’t know what
                  role man-made greenhouse gases might play in warming the planet
                  . . . . Let’s not rush to a decision at Kyoto. Climate change is complex,
                  the science is not conclusive, the economics could be devastating.66

       The advertisement was intended to ensure that consumers continued to purchase fossil-
       fuel products, and failed to warn of the contrary findings by the industry’s own scientists.

      In 1997, in a New York Times advertorial directed to consumers and purchasers (among
       others), Mobil misleadingly exaggerated the level of uncertainty in climate science and
       implied a lack of consensus among scientists:

                  [T]here is a high degree of uncertainty over the timing and magnitude
                  of the potential impacts that man-made emissions of greenhouse gases
                  have on climate . . . . To address the scientific uncertainty
                  governments, universities and industry should form global research
                  partnerships to fill in the knowledge gap, with the goal of achieving a
                  consensus view on critical issues within a defined time frame[.]67

       The advertorial was intended to ensure that consumers continued to purchase fossil-fuel
       products, and failed to warn of the contrary findings by the industry’s own scientists.

      In 1998, Mobil misleadingly stated in a New York Times advertorial that: “Credible
       economic studies have pointed out that mandating emission targets and timetables now
       will have an enormous negative impact on many national economies.”68 This advertorial
       did not disclose the enormous negative impact that Mobil had already determined climate
       change would cause.




66
   Mobil, Reset the alarm, New York Times (Oct. 30, 1997).
67
   Mobil, Climate Change: a degree of uncertainty, New York Times (Dec. 4, 1997).
68
   Mobil, Post Kyoto, what’s next?, New York Times (Jan. 29, 1998) (emphasis in original).



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      In 1999, Mobil misleadingly implied that unabated climate change might not be harmful:
       “We don’t know whether [climate] stabilization is necessary and, if so, at what level.”69
       This statement did not warn of its findings to the contrary.

      In 1999, Raymond misleadingly suggested at an annual meeting that future climate
       “projections are based on completely unproven climate models, or, more often, on sheer
       speculation.”70 The “unproven” models were the same ones that ExxonMobil was using
       internally to study how climate change would affect its business. Using these models, in
       fact, ExxonMobil had accurately predicted (before 1992) that the Beaufort Sea’s open
       water season—when drilling and exploration occurred—would lengthen from two
       months to three or possibly five months.71 Raymond did not disclose his company’s use
       of those same internal models when he made this statement at the annual meeting.

      In 2000, an ExxonMobil advertisement in the Washington Post misleadingly implied that
       climate models (such as those it relied on internally) were unreliable: “Today’s global
       models simply don’t work at a regional level.” It went on to claim that the National
       Assessment Synthesis Report (on climate change) “is written as a political document, not
       an objective summary of the underlying science.”72 The advertisement failed to disclose
       what ExxonMobil’s own internal documents had already confirmed: that burning fossil
       fuels would result in catastrophic climate change.

      In 2000, an ExxonMobil advertorial in the New York Times misleadingly declared that
       consequences of climate change could be beneficial: “Just as changeable as your local
       weather forecast, views on the climate change debate range from seeing the issue as
       serious or trivial, and from seeing the possible future impacts as harmful or beneficial.”
       The advertorial went on to state that while climate-change science remained uncertain,
       the negative impacts of climate policies were fully understood: “[T]here is not enough
       information to justify harming economies and forcing the world’s population to endure
       unwarranted lifestyle changes by dramatically reducing the use of energy now,” but “we
       know with certainty that climate change policies, unless properly formulated, will restrict
       life itself.”73 This advertorial did not disclose that Exxon’s own internal documents had
       already determined that climate change leading to a rise in sea level of five meters could
       cause catastrophic flooding.

      In 2004, an ExxonMobil newspaper advertisement continued to blatantly and falsely
       exaggerate the uncertainty of climate science: “Scientific uncertainties continue to limit
       our ability to make objective, quantitative determinations regarding the human role in


69
   Mobil, Scenarios for Stabilization, New York Times (Aug. 12, 1999).
70
   Sara Jerving et al., What Exxon knew about the Earth’s melting Arctic, Los Angeles Times
(Oct. 9, 2015) (hereinafter Jerving 2015).
71
   Id.
72
   ExxonMobil, Political cart before a scientific horse, Washington Post (2000).
73
   ExxonMobil, Do No Harm, Washington Post (Mar. 16, 2000).



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       recent climate change or the degree and consequence of future change.”74 This
       advertisement failed to disclose that ExxonMobil had already determined that climate
       change was both anthropogenic and severe.

      In 2010, David Koch of Koch Industries was credited with claiming that global warming
       is good news. “Lengthened growing seasons in the northern hemisphere, he says, will
       make up for any trauma caused by the slow migration of people away from disappearing
       coastlines. ‘The Earth will be able to support enormously more people because a far
       greater land area will be available to produce food,’ he says.”75

      ExxonMobil’s 2018 public statement on climate change was misleading because it
       stressed uncertainty by saying the “current scientific understanding provides limited
       guidance on the likelihood, magnitude, or time frame of these events,” and promoted a
       false choice between climate solutions and economic development.76 It failed to disclose
       that decades earlier, ExxonMobil had already known that climate change would have
       devastating effects as soon as 2050.

      Defendants continue to run misleading advertising campaigns highlighting their
       commitment to renewable energy.

These statements were intended to, and did, reach and influence the public and consumers,

including in Minnesota.

       91.    Peer-reviewed research concludes that ExxonMobil deliberately misled the

American public about climate change.77 Researchers “present an empirical document-by-

document textual content analysis and comparison of 187 climate change communications from

ExxonMobil, including peer-reviewed and non-peer reviewed publications, internal company

documents, and paid, editorial-style advertisements (‘advertorials’) in The New York Times.” The

researchers “conclude that ExxonMobil contributed to advancing climate science—by way of its


74
   ExxonMobil, Weather and climate, New York Times (Jan. 22, 2004).
75
   Andrew Goldman, The Billionaire’s Party, New York Magazine (July 23, 2010).
76
   Union of Concerned Scientists, The 2018 Climate Accountability Scorecard: Insufficient
Progress from Major Fossil Fuel Companies, 7 (2018),
https://www.ucsusa.org/sites/default/files/attach/2018/10/gw-accountability-scorecard18-
report.pdf [https://perma.cc/R2DA-JW5J].
77
   Geoffrey Supran & Naomi Oreskes, Assessing ExxonMobil’s climate change communications
(1977-2014), 2017 Environ. Res. Lett. 12.



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scientists’ academic publications—but promoted doubt about it in advertorials. Given this

discrepancy, [they] conclude that ExxonMobil misled the public.”78

       92.     Defendants have spent millions of dollars on advertising and public relations

campaigns, including in Minnesota, in order to mislead consumers and the general public about

scientists’ certainty regarding climate change, the role of fossil fuels in creating the problem, the

potential consequences of climate change, and the urgency of the need to take action.79

Defendants spent millions on advertising and public relations because they understood that an

accurate understanding of climate change would affect their ability to continue to earn profits by

conducting business as usual.

       93.     Defendants’ misleading statements were part of a conspiracy to defraud

consumers and the general public, including consumers and the public in Minnesota, about

climate change and the role of fossil-fuel products in climate change.

       94.     Defendants’ websites contain misleading statements about climate science, the

role of fossil-fuel products in contributing to climate change, the consequences of climate change

and/or the need to take swift action to mitigate climate change, and the harms that it would bring.

These websites are and were accessible to Minnesotans, and were intended to reach and

influence Minnesotans, at times relevant to this Complaint.

       95.     The misleading statements chronicled here were directed at consumers, including

in Minnesota. Defendants intended that consumers would rely on their statements in justifying

decisions to not change their fossil-fuel consumption habits.



78
  Id.
79
  See, e.g., Kate Yoder, Big Oil spent $3.6 billion to clean up its image, and it’s working, Grist
(Dec. 24, 2019), https://grist.org/energy/big-oil-spent-3-6-billion-on-climate-ads-and-its-
working/ [https://perma.cc/2HM4-8HB6] (hereinafter Yoder 2019).



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       96.     ExxonMobil knows that information about the environmental impact of using its

fossil-fuel products is material to consumers because, for example, it has commissioned surveys

and gathered and analyzed data to evaluate consumer perceptions to inform the Company’s

fossil-fuel marketing.

       97.     Recently, efforts are being made to warn consumers at the gas pump of the

extreme dangers of the routine consumer use of fossil fuels like gasoline. There are now various

initiatives in the United States and other countries, including in Cambridge, Massachusetts;

Berkeley, Santa Monica, and San Francisco, California; Seattle, Washington; Canada; and

Sweden, to require climate-change warning labels on gas pumps based on the principle that

consumers will change their purchasing decisions when they have direct access to accurate

information about the connection between their consumption of fossil fuels and climate change.

Similar to health warning labels on tobacco products, which aim to educate consumers, and

thereby reduce a population’s health risks and medical costs, fossil-fuel warning labels that

accurately relay risk can educate consumers and thereby reduce the risks and costs associated

with climate change. Here, however, Defendants did not warn consumers of the harms

Defendants knew their fossil fuel products posed, and instead misled consumers regarding those

harms and their causes.

 DEFENDANTS PAID OUTSIDE ORGANIZATIONS TO MAKE MISLEADING STATEMENTS ABOUT
  CLIMATE CHANGE SCIENCE, ITS CONSEQUENCES AND THE URGENCY OF THE PROBLEM

       98.     In addition to making misleading statements themselves, Defendants have also

funneled hundreds of millions of dollars to organizations with the intent that these organizations

would make misleading statements about climate change, including in Minnesota, and with the

intent that these statements would promote and allow for the continued unfettered sales of their

products. For example, between 1998 and 2017, ExxonMobil spent more than $36 million



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funding organizations that misrepresented the scientific consensus that Defendants’ fossil-fuel

products were causing climate change.80 These organizations were intended to, and did, target

and influence the public and consumers, including in Minnesota. Although ExxonMobil publicly

declared that it would stop funding climate-denial organizations in 2008, more than $13 million

of this funding was transmitted to “denial organizations” between 2008 and 2017.81 In fact, in

2017 alone, ExxonMobil still contributed more than $1.5 million to climate-change denial

organizations.82 Similarly, between 1997 and 2017, Koch-controlled foundations gave more than

$127 million to groups that obfuscated climate science.83

       99.     The web of “front groups” and denial organizations supported exclusively or in

part by Defendants is vast. Network analysis published in Nature Climate Change in 2015

identified at least 4,556 individuals and 164 organizations in the global web of climate-change

denial.84 These organizations engaged in a conspiracy with Defendants to discredit the science of

climate change in order to protect fossil-fuel sales, including in Minnesota, and Defendants’

ability to continue to profit from their business-as-usual model. A small sample of these

seemingly independent groups and their misleading or false statements are highlighted in

paragraphs 100-117.




80
   Union of Concerned Scientists, ExxonMobil Foundation & Corporate Giving to Climate
Denier & Obstructionist Organizations, https://www.ucsusa.org/sites/default/files/attach/2019/
ExxonMobil-Worldwide-Giving-1998-2017.pdf?_ga=2.84739161.1384563456.1548170682-
1610477837.1510330963 [https://perma.cc/TG98-G3CJ].
81
   Id.
82
   Id.
83
   Greenpeace, Koch Industries: Secretly Funding the Climate Denial Machine,
https://www.greenpeace.org/usa/global-warming/climate-deniers/koch-industries/
[https://perma.cc/J8FJ-88PX].
84
   Justin Farrell, Corporate funding and ideological polarization about climate change, Proc.
Nat’l Acad. Sci. U.S.A. 1, 113 (Jan. 5, 2016).



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         100.   In the 1990s, Defendants formed and/or funded one such outside organization,

called the Global Climate Coalition (GCC). Defendants funded and orchestrated the GCC’s

operations both directly through their own membership and through proxy GCC members,

including API. Defendant ExxonMobil, among others, was a core member of and substantial

financial contributor to the GCC, including holding leadership positions on its board, and

received ongoing information about its activities. The GCC spent millions on lobbying and

public relations efforts, including distributing a video to hundreds of journalists, the White

House, and several Middle Eastern oil-producing countries that misleadingly suggested that

higher levels of CO2 would be beneficial for crop production, and could be the solution to world

hunger.85

         101.   As part of Defendants’ long-term campaign to influence consumers’ demand for

oil and gas through mass disinformation, Defendants ensured that the GCC implemented public

advertising and outreach campaigns to discredit climate science and cast doubt on the dangerous

consequences of climate change. These campaigns were national and extended to Minnesota.

They were intended to and did influence the public and consumers, including in Minnesota.

Defendants exerted control over the GCC’s deceptive marketing in the form of funding,

supervision, facilitation, and direct participation. Defendants also benefited financially from the

GCC’s misleading campaigns, which helped to ensure a thriving consumer market for

Defendants’ fossil-fuel products.

         102.   In a 1994 report, the GCC stated that “observations have not yet confirmed

evidence of global warming that can be attributed to human activities,” that “[t]he claim that

serious impacts from climate change have occurred or will occur in the future simply has not

85
     Lieberman & Rust 2015.



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been proven,” and “[c]onsequently, there is no basis for the design of effective policy action that

would eliminate the potential for climate change.”86

       103.    In 1995, the GCC created an internal climate-change primer that included the

statements that “the scientific basis for the greenhouse effect and the potential impact of human

emissions of greenhouse gases such as CO2 on the climate is well-established and cannot

be denied” and that “contrarian theories” about climate change do not “offer convincing

arguments against the conventional model of greenhouse gas emission-induced climate change.”

But the GCC removed this second statement from a more widely circulated version of its primer

in an effort to mislead readers. The excised section also dismissed the claims of contrarian

research on the role of solar radiation as an explanation for global warming.87 The GCC also

misleadingly implied that scientists disputed the likelihood of sea-level rise as a result of climate

change: “There has been a great deal of speculation about a potential sea level rise, [but] most

scientists question the predictions of dangerous melting of Greenland or Antarctic ice caps.”88

       104.    Also in 1995, the GCC published a booklet called “Climate Change: Your

Passport to the Facts,” which stated, “While many warnings have reached the popular press

about the consequences of a potential man-made warming of the Earth’s atmosphere during the




86
   GCC, Issues and Options: Potential Global Climate Change (1994),
http://www.climatefiles.com/denial-groups/global-climate-coalition-collection/1994-potential-
global-climate-change-issues.
87
   Union of Concerned Scientists, Climate Deception Dossier #7: The Global Climate
Coalition’s 1995 Primer on Climate Change Science, at 25-28 (July 2015),
https://www.ucsusa.org/sites/default/files/attach/2015/07/The-Climate-Deception-Dossiers.pdf
[https://perma.cc/JL2V-XYGL] &
https://www.ucsusa.org/sites/default/files/attach/2015/07/Climate-Deception-Dossier-7_GCC-
Climate-Primer.pdf (hereinafter Dossier #7—GCC Primer).
88
   Lieberman & Rust 2015.



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next 100 years, there remains no scientific evidence that such a dangerous warming will actually

occur.”89 Defendants knew and approved of the dissemination of this document.

       105.    These GCC advertisements were intentionally misleading. GCC’s members,

including Defendants, knew that climate change was real and ongoing, and that its impacts

increasingly were posing serious risks to the public and the world. Defendants supported,

approved, and furthered these misleading advertisements because they were consistent with

Defendants’ goal of influencing consumer demand for their fossil-fuel products and assisted

them in maintaining profits.

       106.    In 1997, William O’Keefe, GCC Chairman and API Executive Vice President,

falsely stated in an op-ed published in the Washington Post, “Climate scientists don’t say that

burning oil, gas and coal is steadily warming the earth.” This false statement contradicted long-

established science, as well as Defendants’ own knowledge. Yet Defendants nevertheless

supported and approved the publication of this op-ed.

       107.    By funding and actively participating in the GCC and other similar organizations

that published disinformation about the risks of climate change, Defendants directly contributed

to and helped coordinate the deception of consumers in Minnesota and the broader public about

the risks of climate change and the harmful consequences associated with the sale and use of

Defendants’ fossil-fuel products.

       108.    The GCC disbanded in 2002, after then-President Bush rejected the Kyoto

Protocol, stating that it had “achieved what [it] wanted to accomplish with the Kyoto Protocol.”90



89
   GCC, Climate Change: Your Passport to the Facts (1995),
http://www.climatefiles.com/denial-groups/global-climate-coalition-collection/1995-climate-
change-facts-passport.
90
   Dossier #7—GCC Primer.



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       109.    A similar pattern of activities was undertaken in the 1990s by a group known as

the “Greening Earth Society” (GES), which was funded by a consortium of U.S. coal

corporations, rural electric cooperatives, and municipal electric utilities. GES was headed by

Fred Palmer, who now has a position with the Heartland Institute.91 In 1998, GES produced a

video, The Greening of Planet Earth Continues, which is a sequel to The Greening of Planet

Earth released by the Western Fuels Association, and that is still being promoted today by the

Center for the Study of CO2 and Global Change. The description of the video misleadingly states

that CO2 emissions are beneficial: “expert scientists assert that CO2 is not a pollutant, but a

nutrient to life on earth.” The video is claimed to have been distributed to more than 30,000

people worldwide.92 In 1999, GES published the “State of the Climate Report” with essays from

notable climate change deniers, such as Patrick Michaels, who has ties to Koch.93

       110.    Defendants and their foundations have given and continue to give the American

Enterprise Institute (AEI) millions of dollars to further their campaign of deception. AEI has

made and continues to make misleading statements about climate change. For example, on

January 21, 2020, AEI published an online article entitled “Six facts about the non-problem of

global warming.” The six “facts” listed are:

       (1) The earth’s temperature has been rising at a microscopically slow pace. . . .
       (2) A warmer earth saves lives. . . . (3) While the earth’s temperature has risen,
       the number of natural disaster deaths has been sharply declining. . . . (4) The
       global air pollution death rate has fallen by almost 50% since 1990. . . . (5) Any
       impact on the economy is likely to be minimal. . . . (6) Restricting carbon



91
   Desmog: Clearing the PR Pollution that clouds climate science, Greening Earth Society,
https://www.desmogblog.com/greening-earth-society [https://perma.cc/J3ES-ADF4].
92
   Id.
93
   New Hope Environmental Services, State of the Climate Report: Essays on Global Climate
Change (1999), http://www.climatefiles.com/deniers/patrick-michaels-collection/1999-greening-
earth-society-climate-report-2.



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       emissions to attempt to stop global warming is the wrong path—even the most
       severe restrictions will have almost zero impact on the earth’s temperature.94

The conclusion, according to AEI, is that “[g]lobal warming has not been harmful and presents

no danger to future generations.” ExxonMobil gave AEI $160,000 in 2017 and almost

$4,500,000 between 1998 and 2017. The Charles G. Koch Charitable Foundation gave AEI over

$2 million between 2004 and 2017 and AEI received $750,000 from the Claude R. Lambe

Charitable Foundation between 2005 and 2007. API gave AEI $110,000 between 2008 and 2013.

       111.    ExxonMobil has served or currently serves as corporate leadership of the

American Legislative Exchange Council (ALEC) and/or ALEC’s Energy, Environmental and

Agriculture Task Force. ALEC’s current website misleadingly characterizes climate change as “a

historical phenomenon” for which “the debate will continue on the significance of natural and

anthropogenic contributions.”95 ALEC continues to question the scientific consensus on climate

change, contrary to evidence, and has regularly given climate deniers a speaking platform at its

annual meeting. Defendants and their foundations have given and continue to give ALEC

millions of dollars to further these misleading statements. ExxonMobil gave ALEC $60,000 in

2017 and almost $2 million between 1998 and 2017. The Charles G. Koch Charitable Foundation

gave ALEC more than $2.4 million between 1997 and 2017. The Charles Koch Institute gave

ALEC $137,089 between 2014 and 2017, and the Claude R. Lambe Charitable Foundation gave

ALEC $720,000 between 1993 and 2012. API gave ALEC $88,000 between 2008 and 2010.

       112.    The Center for the Study of CO2 and Global Change produces a weekly

newsletter that has a veneer of scientific credibility but misleadingly states that additional CO2 in
94
   Mark Perry, Six facts about the non-problem of global warming, American Enterprise Institute
(Jan. 21, 2020), https://www.aei.org/carpe-diem/six-facts-about-the-non-problem-of-global-
warming/.
95
   ALEC, Energy Principles, https://www.alec.org/model-policy/alec-energy-principles/
[https://perma.cc/X7WK-W9W9].



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the atmosphere will be beneficial.96 In addition, the Center’s website offers a book for sale

entitled “The Many Benefits of Atmospheric CO2 Enrichment: How humanity and the rest of the

biosphere will prosper from this amazing trace gas that so many have wrongfully characterized

as a dangerous pollutant!”97 The book misleadingly “describes a host of real-world benefits that

the controversial atmospheric trace gas [CO2] provides, first to earth’s plants and then to the

people and animals that depend upon them for their sustenance.”98 Defendants have funded the

activities of the Center in order to advance misleading and false ideas. The Center received

$85,000 from ExxonMobil between 1998 and 2003. The Center also received $85,000 from the

Claude R. Lambe Charitable Foundation between 2004 and 2007.

       113.    The George C. Marshall Institute (GMI) has been funded by Defendants and

affiliated foundations to perpetuate, inter alia, the false claim that there is no scientific consensus

about the science of climate change. In 1997, for example, GMI orchestrated a sham petition that

claimed to have 17,000 signatories arguing against man-made climate change. The “petition”

included a cover letter from Fred Seitz, a tobacco scientist and climate denier, and a fake

“research paper” entitled: Environmental Effects of Increased Atmospheric Carbon Dioxide. The

National Academy of Science issued a statement that “[t]he Petition project was a deliberate

attempt to mislead scientists and rally them in an attempt to undermine support for the Kyoto

Protocol. The petition was not based on a review of the science of global climate change, nor




96
   See, e.g., Center for the Study of Carbon Dioxide and Global Change, Volume 23: February
2020, http://www.co2science.org/index.php [https://perma.cc/QJL4-GNTD].
97
   Craig D. Idso & Sherwood B. Idso, The Many Benefits of Atmospheric CO2 Enrichment: How
humanity and the rest of the biosphere will prosper from this amazing trace gas that so many
have wrongfully characterized as a dangerous pollutant! (2011).
98
   Id.



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were its signers experts in the field of climate science.”99 Although it was exposed as a sham,100

for many years thereafter the petition continued to be relied upon to make false and misleading

statements about climate change. For example, the petition was cited in a U.S. Senate press

release to counter criticism that was raised at a hearing claiming that GMI represented the views

of only a few scientists.101 GMI received $570,000 from ExxonMobil Foundation between 1999

and 2005, and $260,000 from ExxonMobil Corporation between 2002 and 2007. GMI received

$200,000 from the Charles G. Koch Charitable Foundation between 2013 and 2015 and

$420,000 from the Claude R. Lambe Charitable Foundation between 2004 and 2012.

       114.    GMI’s Climate Change program became the “CO2 Coalition” in 2015.102 The CO2

Coalition continues to promote the false assertion that increased atmospheric concentrations of

CO2 will be beneficial to our lives and the economy. Its mission

       is to demonstrate with science-based facts that: CO2 is a nutrient that is essential
       to life. CO2 at current levels and higher enables plants, trees and crops to grow
       faster and more efficiently. It is essential for life. Just as we require oxygen for
       life, our economy requires energy, often described as the oxygen or lifeblood of
       the economy. Energy must be abundant, reliable, and reasonably priced for an
       economy to achieve robust and sustained growth.103




99
   Desmog: Clearing the PR Pollution that clouds climate science, George C. Marshall Institute,
https://www.desmogblog.com/george-c-marshall-institute [https://perma.cc/XX3Q-R6FS]
(hereinafter Desmog Marshall Institute).
100
    H. Josef Hebert, Jokers Add Fake Names to Warming Petition, Seattle Times (May 1, 1998)
(noting that the petition was signed by fictitious characters and pop stars); Kevin Grandia, The
30,000 Global Warming Petition Is Easily-Debunked Propaganda, HuffPost (Aug. 22, 2009),
https://www.huffpost.com/entry/the-30000-global-warming_b_243092 [https://perma.cc/4EJT-
XF86].
101
    Inhofe Questions Science Behind Arctic Report, U.S. Senate Committee on Environment &
Public Works (Nov. 16, 2004), https://www.epw.senate.gov/public/index.cfm/2004/11/post-
b505f565-f2db-4dab-8c76-c6209e5b3d7c [https://perma.cc/KHZ7-TJRW].
102
    Desmog Marshall Institute.
103
    CO2 Coalition, CO2 Fundamentals, https://co2coalition.org/co2-fundamentals/
[https://perma.cc/4VHB-U739].



                                               48
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On December 3, 2019, at a presentation at UNFCCC’s 25th Conference of the Parties climate

summit in Madrid, at an event titled “Rebutting the United Nation’s Climate Delusion,” and in

collaboration with the Heartland Institute, the Committee for a Constructive Tomorrow, and the

European Institute for Climate and Energy, the director of the CO2 Coalition (William Happer)

referred to climate change as a phony and bizarre “environmental cult”:

         We are here, though, on false pretenses, wasting our time talking about a non-
         existent climate emergency. And it’s hard to understand how much further the
         shrillness can go, as this started out as global warming, then it was climate change
         or global weirding, climate crisis, climate emergency . . . what next? But stick
         around, it will happen. I hope sooner or later enough people will recognize the
         phoniness of this bizarre environmental cult and bring it to an end.104

      Happer’s talk also included the following deceptive image:105




104
    Trump Adviser William Happer Talks Climate Alarmism During COP25 in Madrid, The
Heartland Institute (Dec. 3, 2019), https://www.youtube.com/watch?v=j8KxVQFoyT0.
105
    Id.



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The Coalition received $364,985 from GMI in 2015. The Coalition received $9,126 from the

Charles G Koch Charitable foundation in 2016, and $46,409 from the Charles Koch Institute

between 2016 and 2017.

       115.    The Heartland Institute promotes itself as “[t]he world’s most prominent think-

tank promoting skepticism about man-made climate change.”106 Heartland has received funding

from Defendants in the past, although ExxonMobil has attempted to distance itself from the

organization in recent years.107 The Heartland Institute advances the false claims that there is no

consensus about the causes, effects, or future rate of global warming; that global warming is

primarily a natural phenomenon; and that the benefits of warming are likely to outweigh the

costs. Heartland also claims responsibility for defeating cap and trade, a regulatory mechanism

designed to curb harmful emissions: “You may also know us from our work exposing the shoddy

science and missing economics behind the global warming delusion. Our videos, books, studies,

and international conferences changed the debate and led to the defeat of ‘cap and trade.’”108

       116.    Heartland disseminates this false and misleading information to educators in

Minnesota. For example, Heartland sent Minnesota educators, for free, a book offered for sale on

Heartland’s website entitled “Why Scientists Disagree About Global Warming: The NIPCC

Report on Scientific Consensus.”109 The book was authored by well-known climate deniers,



106
    Arthur B. Robinson Center on Climate and Environmental Policy, The Heartland Institute,
https://www.heartland.org/Center-Climate-Environment/index.html [https://perma.cc/R5QY-
MNQF].
107
    See, e.g., David Adam, Exxon to cut funding to climate change denial groups, The Guardian
(May 28, 2008), https://www.theguardian.com/environment/2008/may/28/climatechange.fossil
fuels [https://perma.cc/CXH2-WXD6].
108
    Joseph L. Bast, Message from the President, https://www.webcitation.org/6dHrecCkT
[https://perma.cc/L3NZ-HA2V].
109
    Craig Idso et al., Why Scientists Disagree About Global Warming: The NIPCC Report on
Scientific Consensus, The Heartland Institute (2d ed. 2016).



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including Craig Idso. The first “Key Finding” of the book is: “The most important fact about

climate science, often overlooked, is that scientists disagree about the environmental impacts of

the combustion of fossil fuels on the global climate.” Most of the “findings” of the book are

repeated from other Heartland Institute publications by the so-called “Nongovernmental

International Panel on Climate Change,” which consists of the same well-worn climate change

deniers such as Idso.110

       117.    Other groups that have received funding from Defendants as part of the

conspiracy to deceive the public about climate change include, but are not limited to: Americans

for Prosperity, Cato Institute, Competitive Enterprise Institute, Center of the American

Experiment, Hoover Institute, Institute for Energy Research, Heritage Foundation, Manhattan

Institute, Reason Foundation, and U.S. Chamber of Commerce.

       118.    The scope and extent of Defendants’ support for these climate denial groups is not

fully understood. One or more Defendants directed funds to outside organizations engaged in the

campaign of deception conspiracy by funneling money through one or more intermediate

organizations such as DonorsTrust and Donors Capital Fund. Between 1998 and 2017,

DonorsTrust gave more than $150 million to climate denial groups and Donors Capital Fund

gave nearly $200 million to these groups during the same time frame.

       119.    Defendants paid for, expected, and then used the misleading materials produced

by these outside organizations in furtherance of their strategy to exaggerate scientific uncertainty

and avoid a clear understanding of the need to address greenhouse-gas emissions and climate

change.



110
   Lead Authors, Nongovernmental International Panel on Climate Change,
http://climatechangereconsidered.org/lead-authors/ [https://perma.cc/XD8Y-9NT6].



                                                51
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       120.    The websites of outside organizations funded by Defendants in order to deceive

the public about climate science, the role of their products in contributing to climate change, the

consequences of climate change, and/or the need to take swift action to mitigate climate change

and the harms that it would bring are and were accessible to Minnesotans at times relevant to this

Complaint. These websites contain and have contained misleading and deceptive information.

       121.    The payments from Defendants to these outside organizations were part of a

conspiracy to defraud consumers and the public about climate change and the role of

Defendants’ products in climate change. Defendants intended for these outside organizations to

use the funding provided to them to disseminate misleading statements about climate change,

which is what the outside organizations did.

       122.    Defendants intended for the misleading statements made by outside organizations

to be directed at consumers of their products. Defendants intended that consumers, including

Minnesotans, would rely on misleading statements by outside organizations to justify decisions

to not change their fossil-fuel-consumption habits.

       123.    Defendants also intended that the misleading statements made by outside

organizations would be relied on by the public in justifying decisions not to, inter alia, demand

regulation, taxation, or otherwise require abatement of the harmful greenhouse-gas emissions

that are the byproducts of burning fossil fuels.

       124.    Creating a false sense of disagreement in the scientific community (despite the

consensus that Defendants’ own scientists, experts, and managers had previously acknowledged)

has had an evident impact on public opinion. A 2007 Yale University-Gallup poll found that

while 71 percent of Americans personally believed global warming was happening, only 48

percent believed that there was a consensus among the scientific community, and 40 percent




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believed there was a lot of disagreement among scientists over whether global warming was

occurring.111

  DEFENDANTS FUNDED FRAUDULENT SCIENTIFIC RESEARCH WITH THE INTENT THAT IT
WOULD CREATE UNCERTAINTY WHERE THERE WAS NONE AND LEND FALSE CREDIBILITY TO
  THE MISLEADING STATEMENTS THEY AND OUTSIDE ORGANIZATIONS WERE MAKING

       125.     In furtherance of their goals to exaggerate scientific uncertainty and avoid a clear

understanding of the need to address greenhouse-gas emissions and climate change and as part of

a conspiracy, Defendants secretly paid scientists to produce research that supported their

campaign of deception.

       126.     For example, one purportedly independent research scientist, Wei-Hock “Willie”

Soon, received more than $1.2 million in research funding between 2001 and 2012 from fossil-

fuel interests including ExxonMobil, API, and the Charles Koch Foundation. The source of

Soon’s funding was discovered in 2015 pursuant to a Freedom of Information Act request. The

documents received from that request revealed a disturbing relationship between Soon’s research

and the fossil-fuel industry. These documents showed that the fossil-fuel industry paid for Soon’s

entire salary and research budget. Contracts between Soon and his funders demonstrated that the

industry paying him had the right to review his research before it was published, and the

Smithsonian, that housed Soon, agreed not to disclose the funding arrangement without the

permission of the fossil-fuel funders.112 Defendants and their proxies intended Soon to produce

exactly the sort of “research” that he did—the arrangement and its outcome is not a coincidence.


111
    American Opinions on Global Warming: A Yale/Gallup/Clearvision Poll, Yale Program on
Climate Change Communication (July 31, 2007),
http://climatecommunication.yale.edu/publications/american-opinions-on-global-warming.
112
    Union of Concerned Scientists, Climate Deception Dossier #1: Dr. Wei-Hock Soon’s
Smithsonian Contracts, (July 2015),
https://www.ucsusa.org/sites/default/files/attach/2015/07/The-Climate-Deception-Dossiers.pdf
[https://perma.cc/JL2V-XYGL] & https://s3.amazonaws.com/ucs-documents/global-



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       127.    William Happer is also on the payroll of Defendants.113 Happer served for a year

on the Trump administration’s national security council and has been asked to serve as an expert

witness on climate change, despite never having published a peer-reviewed article on the topic.

In contrast to his lack of peer-reviewed climate-change articles, Happer has published numerous

articles in non-peer-reviewed publications arguing that climate change is due to natural forces

and additional CO2 will be beneficial for humankind. In 2013, as one example, Happer, the then-

head of the GMI, stated in an opinion piece in the Wall Street Journal, a national newspaper with

substantial circulation in Minnesota,

       [T]he conventional wisdom about carbon dioxide is that it is a dangerous
       pollutant. That’s simply not the case. Contrary to what some would have us
       believe, increased carbon dioxide in the atmosphere will benefit the increasing
       population on the planet by increasing agricultural productivity.114

And in November 2019, as another example, Happer told the Washington Examiner, in an article

published on its website with national reach, including to Minnesota, that climate change was

invented by paranoid scientists.115 Defendants and their proxies intended Happer to produce

exactly the sort of articles that he did—the arrangement and its outcome is not a coincidence.




warming/Climate-Deception-Dossier-1_Willie-Soon.pdf (hereinafter Dossier #1—Soon
Contracts).
113
    Happer and Frank Clemente were exposed by an undercover operation as agreeing to produce
research in exchange for payments to his organization, the CO2 Coalition. See Suzanne
Goldenberg, Greenpeace exposes sceptics hired to cast doubt on climate science, The Guardian
(Dec. 8, 2015), https://www.theguardian.com/environment/2015/dec/08/greenpeace-exposes-
sceptics-cast-doubt-climate-science [https://perma.cc/N4SQ-WXFD].
114
    William Happer & Harrison Schmitt, In Defense of Carbon Dioxide, Wall Street Journal
Opinion (May 8, 2013) (“[I]t’s a wonder that humanitarians aren’t clamoring for more
atmospheric carbon dioxide. Instead, some are denouncing it.”).
115
    Josh Siegel, Former Trump official says climate change is “imaginary threat” invented by
“insular and paranoid” scientists, Washington Examiner (Nov. 5, 2019).



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       128.    These examples are part of a pattern of using manufactured or questionable

science to further business goals. Additional examples include Koch Industries-owned Georgia

Pacific generating misleading scientific research as a result of liability for asbestos injuries.116

       129.    Defendants misleadingly cite and have cited to research by these scientists as if it

were independent research, without revealing that they paid for it to be produced, and without

revealing that their own science runs contrary to its conclusions.

       130.    The payments from Defendants to these scientists (either directly or through

various front organizations) were part of a conspiracy to defraud consumers and the public about

climate change and the role of Defendants’ products in causing climate change. Defendants

intended for these scientists to use the funding provided to them to publish misleading research

about climate change, which is what the scientists did.

       131.    Defendants intended for the research of scientists they funded to be distributed to

and relied on by consumers when buying Defendants’ products, including by consumers in

Minnesota.

                DEFENDANTS’ FRAUD ONLY RECENTLY BECAME DISCOVERABLE

       132.    To determine whether Defendants engaged in consumer fraud and failure to warn

by giving a misleading impression and failing to disclose material information about climate

change, it is necessary to know what Defendants knew about that topic and in what timeframe.

We only now know that the information that Defendants and their proxies provided to the public

was known to be incomplete and untrue at the times those statements were made.




116
   See, e.g., Union of Concerned Scientists, The Disinformation Playbook, How Business
Interests Deceive, Misinform, and Buy Influence at the Expense of Public Health & Safety (May
18, 2018), https://ucsusa.org/resources/disinformation-playbook [https://perma.cc/HGW7-2Z5B].



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       133.    The information about what Defendants knew about climate change leading up to

and during their campaign of deception was recently uncovered by investigations of journalists at

the Energy and Environment Reporting Project at Columbia University’s Graduate School of

Journalism, InsideClimate News, and The Guardian. There were concurrent investigations by the

non-governmental organizations Center for International Environmental Law and Union of

Concerned Scientists as well.

       134.    In July 2015, the Union of Concerned Scientists published The Climate Deception

Dossiers, revealing (among other facts) that the fossil-fuel industry, which had long pointed to

Dr. Soon’s research to support its positions, had actually fully funded the allegedly independent

research.117

       135.    Later in 2015, journalists at InsideClimate News reported the fact that

ExxonMobil had superior knowledge of the causes and potential consequences of climate change

and the role its products played in causing climate change as far back as the 1970s.118 These

journalists uncovered ExxonMobil’s superior knowledge through an exhaustive investigation of

thousands of archived documents and through interviews with former ExxonMobil employees.

       136.    Also in 2015, several journalists at the Energy and Environment Reporting Project

at Columbia University’s Graduate School of Journalism and the Los Angeles Times also

exposed the fact that ExxonMobil and others had superior knowledge of the causes and potential

consequences of climate change and the role their products played in causing climate change as




117
   Dossier #1—Soon Contracts.
118
   InsideClimate News published a series of nine articles between September and December
2015 following an eight-month investigation. Exxon, The Road Not Taken, InsideClimate News,
https://insideclimatenews.org/content/Exxon-The-Road-Not-Taken [https://perma.cc/5VTL-
PZGH].



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far back as the 1970s.119 These journalists uncovered ExxonMobil’s superior knowledge through

an exhaustive investigation of archived documents, through interviews with former ExxonMobil

employees, and through a review of scientific journals.

       137.    In 2017, the Center for International Environmental Law issued a report that

revealed that Defendants, including API, had superior knowledge of the causes and potential

consequences of climate change and the role their products played in causing climate change.120

       138.    These reports revealed, for the first time, that Defendants had superior knowledge

of climate-change science, the role their products played in climate change, the consequences of

climate change, and the need for urgent action at times when they were making or perpetrating

misleading statements about the same.

                MINNESOTA HAS SUFFERED HARM DUE TO CLIMATE CHANGE

                                      Rising Temperatures

       139.    Minnesota is warming rapidly. In Minneapolis and St. Paul, Minnesota’s largest

cities, annual average temperatures increased by 3.2° F from 1951 to 2012, which was faster than

both national and global rates of increase.121 Statewide, temperatures have increased 1° to 3°

F.122 Winter temperatures have been warming 13 times faster than summer temperatures.123 The

graph below shows that temperatures in recent decades have been rising even more quickly.


119
    The Los Angeles Times published a series of three articles between October and December
2015: Katie Jennings et al., How Exxon went from leader to skeptic on climate change research,
Los Angeles Times (Oct. 23, 2015); Jerving 2015; Lieberman & Rust 2015.
120
    Smoke and Fumes.
121
    Minn. Pollution Control Agency, Effects of climate change in Minnesota,
https://www.pca.state.mn.us/air/effects-climate-change-minnesota [https://perma.cc/Q4LY-
4UT6] (hereinafter MPCA climate effects).
122
    Id.
123
    Minn. Dept. of Nat. Res., Climate trends: Cold weather warming,
https://www.dnr.state.mn.us/climate/climate_change_info/climate-trends.html
[https://perma.cc/TH43-26JT].



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       140.   Extreme heat in urban centers like Minneapolis and St. Paul can cause dangerous

living conditions.124 Data from the Minnesota Department of Health show that between 2000 and

2017 there were over 12,000 emergency department visits125 and nearly 60 deaths126 directly

attributable to heat exposure. Those living in poverty and people of color are particularly

vulnerable to extreme heat events.127 Additionally, “[p]regnant women exposed to high

temperatures or air pollution are more likely to have children who are premature, underweight or




124
    David Hondula et al., Geographic dimensions of heat-related mortality in seven U.S. cities,
Environ. Res. 138, 439-52 (2015).
125
    Minn. Dept. of Health, Heat-related illness emergency department visits,
https://data.web.health.state.mn.us/web/mndata/heat_ed [https://perma.cc/W9WX-9UAV].
126
    Minn. Dept. of Health, Heat-related deaths,
https://data.web.health.state.mn.us/web/mndata/heat_deaths [https://perma.cc/U4N9-H5Q2].
127
    Minn. Dept. of Health, Minnesota Climate Change Vulnerability Assessment Summary,
https://www.health.state.mn.us/communities/environment/climate/docs/mnclimvulnsummary.pdf
[https://perma.cc/94UG-5LGZ] (hereinafter Vulnerability Assessment).



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stillborn, and African-American mothers and babies are harmed at a much higher rate than the

population at large[.]”128

       141.    High temperatures can also lead to crop damage. Corn, in particular, is the

number one crop grown in Minnesota (by acreage) and accounts for an estimated $4.6 billion in

production value alone.129 Yet corn can be irreparably damaged when temperatures are at or

above 95° F for one or more days.130

                                  Precipitation and Flooding

       142.    Dew points have also risen due to climate change, which contributes to increased

humidity and average annual precipitation.131 The graph below shows that precipitation in recent

decades has been rising even more quickly.




128
    Christopher Flavelle, Climate Change Tied to Pregnancy Risks, Affecting Black Mothers
Most, New York Times (June 18, 2020).
129
    U.S. Dept. of Agriculture, 2019 State Agriculture Overview: Minnesota,
https://www.nass.usda.gov/Quick_Stats/Ag_Overview/stateOverview.php?state=MINNESOTA
[https://perma.cc/8R9Z-WJEM].
130
    MPCA climate effects.
131
    Minn. Dept. of Health, Climate & Health in Minnesota, https://www.health.state.mn.us/
communities/environment/climate/climate101.html [https://perma.cc/Y7C8-AJRU].



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       143.    Statewide, Minnesota experienced a 42% increase in the heaviest rainfall events

(top one percent) between 1901 and 2016.132 Minnesota had 10 “Mega-Rain” events between

2000 and 2016.133 A Mega-Rain event is an event “in which six inches of rain covers more than

1000 square miles and the core of the event topped eight inches.”134 “[T]he 20 years from 2000-

2019 have seen 2.5 times as many mega-rains as the 27 years spanning 1973-1999.” This has led

to increased and more damaging flooding. Those living in poverty and people of color are

especially vulnerable to flooding.135

       144.    In 2007, 24 counties in Minnesota sought drought designation,136 while others

were declared flood disasters. Minnesota had never seen simultaneous drought and flood

declarations before.137 This was repeated in 2012 when 11 counties declared flood emergencies

while 55 received drought designations.138

       145.    The 1997 Red River of the North flood in Minnesota, North Dakota, and Southern

Manitoba was the most severe flood of that river since 1826, with damages to the region

estimated at $3.5 billion. The State of Minnesota and communities in Minnesota paid for

portions of the damage relief not covered by federal disaster relief.



132
    U.S. Global Change Research Program, Fourth National Climate Assessment at Ch. 2: Our
Changing Climate, fig. 2.6 (2018), https://nca2018.globalchange.gov/ (hereinafter Fourth
National Climate Assessment).
133
    Minn. Dept. of Nat. Res., Historic Mega-Rain Events in Minnesota,
https://www.dnr.state.mn.us/climate/summaries_and_publications/mega_rain_events.html
[https://perma.cc/Z9XE-ANXG].
134
    Id.
135
    Vulnerability Assessment.
136
    The Climate Reality Project, How the climate crisis is affecting Minnesota (May 7, 2019),
https://www.climaterealityproject.org/blog/how-climate-crisis-affecting-minnesota
[https://perma.cc/XQ2B-YVET].
137
    Minnesota et al., Clean Power Plan Repeal Comments, Appendix A, Climate Change Impacts
A-31 (Oct. 31, 2018).
138
    Id.



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       146.    In 2007, Minnesota provided $165 million in disaster relief due to flooding; in

2010 the State paid $80 million, in 2012, $160 million, and in 2013, another $4.5 million.139 In

2014, the legislature created a disaster contingency account to more quickly provide disaster

relief funding.140 The legislature has appropriated $82 million into the fund since its creation, but

“[b]etween 2018 and 2019 the state received three federal disaster declarations and had 16

gubernatorial disaster declarations,” and the fund now has a projected deficit.141

       147.    In addition to money spent in response to flooding, since 1987, the Minnesota

Flood Hazard Mitigation Grant Assistance Program has appropriated $510 million of state funds

to help local governments implement 365 flood-risk reduction programs.142 Local governments

also contribute to the costs of these projects. The funds have greatly increased since 1997:




139
    Bill Salisbury & Doug Belden, Minnesota Legislature OKs $4.5M in disaster relief in one-
day session, Pioneer Press (Sept. 8, 2013).
140
    Minn. House of Representatives, Division OKs $30 million to replenish the state’s disaster
contingency account (Feb. 24, 2020), https://www.house.leg.state.mn.us/sessiondaily/Story/
14095 [https://perma.cc/TJ7L-D4YU].
141
    Id.
142
    Minn. Dept. of Nat. Res., Minnesota’s Flood Hazard Mitigation Grant Assistance Program
(2018).



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       148.    The economic fallout from heightened flood risk in the Midwest is projected to be

at least $500 million (in 2015 dollars) annually by 2050.143 Flooding can result in mass

evacuations, damage to buildings, drinking water contamination, injury, and death.144 Long after

flood waters recede, flooded buildings, including homes, can experience mold growth that can

trigger asthma attacks and allergies during cleanup efforts.145

       149.    Minnesotans in flooded areas also suffer from mental health issues. Mental stress

during flooding events can cause substantial health impacts, including sleeplessness, anxiety,

depression, and post-traumatic stress disorder.146

                                          Infrastructure

       150.    Minnesota has an aging transportation infrastructure147 that is further stressed by

increases in heavy precipitation events and changes in the State’s average annual precipitation.148

The expected continued increase in the frequency and severity of heavy precipitation events will

affect access to roads, the viability of bridges, and the safety of pipelines.149 In addition, heavy

rainstorms can result in the temporary closure of roadways and contribute to substantial

economic disruptions.




143
    U.S. Envtl. Protection Agency, Multi-Model Framework for Quantitative Sectoral Impacts
Analysis: A Technical Report for the Fourth National Climate Assessment 240 (2017)
(hereinafter EPA 2017 Technical Report).
144
    Terry Brennan et al., Report to the U.S. Environmental Protection Agency on Guidance
Documents to Safely Clean, Decontaminate, and Reoccupy Flood-Damaged Houses (2018).
145
    Id.
146
    Carla Stanke et al., The effects of flooding on mental health: Outcomes and recommendations
from a review of the literature, PLOS Currents Disasters (May 30, 2012).
147
    Minn. Dept. of Trans., Minnesota’s Aging Infrastructure, http://minnesotago.org/application/
files/2215/2181/1386/AgingInfrastructure_final_2018.pdf [https://perma.cc/D3WD-969E].
148
    Fourth National Climate Assessment, Ch. 21: Midwest.
149
    Id. Ch. 12: Transportation.



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       151.    Faster water flow caused by extreme rains can erode the bases of bridges, a

condition known as scour.150 Scour may leave bridges vulnerable to damage and failure during

flooding by undermining bridge foundations or removing the protection from the abutment

slopes.151 The Minnesota Department of Transportation allocates resources to address bridge

scour through multiple efforts;152 those costs will increase due to climate change. The

Environmental Protection Agency (EPA) estimates the annual cost of maintaining current levels

of service on Midwestern bridges from scour damage from climate change at about $400 million

per year in 2050.153

       152.    EPA estimates that higher temperatures associated with unmitigated climate

change would result, by 2090, in U.S. annual road maintenance costs increasing by over $6

billion (in 2015 dollars) each year.154 Minnesotans would be responsible for in-state costs.

       153.    Increased average annual rainfall and the increase in the severity of extreme

precipitation events will damage stormwater and sewer systems.155 Many wastewater systems in

the State are located in floodplains to take advantage of gravity-fed flows.156 Increased flooding

will more frequently exceed infrastructure capacity, overwhelming and submerging

infrastructure, including pipelines, wastewater pumping stations, and treatment systems.157

Treatment systems and pumping stations will require upgrades to withstand future conditions. In



150
    Id.
151
    Id.
152
    See, e.g., Minn. Dept. of Trans., Bridge Scour,
http://dot.state.mn.us/bridge/hydraulics/scour.html [https://perma.cc/YM9T-DMDY].
153
    EPA 2017 Technical Report.
154
    Id.
155
    Fourth National Climate Assessment Ch. 12: Transportation.
156
    Metropolitan Council, Wastewater System Plan, 50, https://metrocouncil.org/METC/files/be/
bed2d5b4-9026-485a-a70f-6dfec3559755.pdf [https://perma.cc/Y8DT-NTKU].
157
    Fourth National Climate Assessment Ch. 12: Midwest.



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2020, Governor Walz requested $293 million in the state bonding bill for water infrastructure

upgrades needed because of climate change.158

       154.    Increased rain intensity can contribute to increased water flows and can cause

overflow of stormwater and wastewater systems and discharge of untreated sewage into

waterways.159 Beach closures in Minneapolis reached a record high during the summer of 2019,

which was exceptionally rainy, due to E. coli and related illnesses.160 Between 2007 and 2015,

the Metropolitan Council spent $205 million on improvements to reduce the inflow and

infiltration of groundwater and stormwater into wastewater systems.161

       155.    The electricity system is also affected by climate change. One of the most direct

energy-security impacts of major storm events is power outages.162 Power outages result in

indirect costs, such as lost business and tax revenue that would otherwise accrue to the State, and

health impacts from the loss of electricity and air conditioning.163 Minnesota’s more frequent

storms as a result of climate change will increase these costs.




158
    Tim Pugmire, Walz: $293M needed to make water infrastructure more resilient to climate
change, MPR News (Jan. 10, 2020), https://www.mprnews.org/story/2020/01/10/walz-293-
million-needed-to-make-water-infrastructure-more-resilient-to-climate-change
[https://perma.cc/3GTE-PTP6].
159
    Metropolitan Council, 2016 Inflow & Infiltration Task Force Report, (hereinafter 2016 I/I
Task Force Report); see also Metropolitan Council, Local Planning Handbook,
http://metrocouncil.org/Handbook/Plan-Elements/Reilience/aspx [https://perma.cc/WNF9-
QY47] (“A failure to effectively manage capacity for stormwater conveyance systems may lead
to sewer overflows and flooding at wastewater treatment facilities.”).
160
    Miguel Otárola, E. coli leads to record number of beach closures in Minneapolis,
Minneapolis StarTribune (Aug. 14, 2019).
161
    2016 I/I Task Force Report at 11.
162
    Alyson Kenward & Urooj Raja, Blackout: Extreme Weather, Climate Change and Power
Outages, Climate Central (2014).
163
    Id.; see also Christine Dominianni et al, Power Outage Preparedness and Concern among
Vulnerable New York City Residents, 95 J. Urban Health 716 (2018).



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       156.    Increased extreme heat days also put stress on the State’s electricity grid, by

requiring increased air conditioning. State agencies are playing key roles in overseeing energy

assurance and resiliency in Minnesota; climate change will increase the cost to provide these

assurances.



                                          Public Health

       157.    Increased air temperatures and changes to the hydrologic cycle associated with

climate change have resulted and will result in public-health impacts for Minnesota. Minnesota

has incurred and will continue to incur expenses in planning, preparing for, and treating the

public-health impacts associated with climate change. Health impacts of climate change, and

associated harms and costs, include impacts from extreme heat, increased challenges with

allergies and pollen, asthma, and vector-borne diseases.164

       158.    U.S. asthma rates have been trending upwards since 2001.165 Warmer

temperatures due to climate change are predicted to increase ground-level ozone, which

contributes to breathing problems.166 Climate change is also predicted to result in increased




164
    IPCC 5th Assessment, Human health: impacts, adaptation, and co-benefits.
165
    Centers for Disease Control & Prevention, Asthma Prevalence, https://www.cdc.gov/asthma/
data-visualizations/prevalence.htm#anchor_1569598046502 [https://perma.cc/98SJ-9G9W].
166
    Yale Climate Connections, Climate Change is making ground-level ozone pollution worse,
https://www.yaleclimateconnections.org/2019/04/climate-change-makes-air-pollution-worse/
[https://perma.cc/E8NS-V4WE].



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wildfires and an increase in the pollen season.167 These factors, especially a combination of heat

and high pollen, are predicted to increase the number of asthma hospitalizations.168

       159.    Asthma disproportionately impacts children, women, African-Americans, and

people with low incomes.169 Data from the Minnesota Department of Health’s Asthma Program

show one in 14 children and one in 13 adults currently have asthma.170 In Minnesota in 2014,

asthma cost an estimated $669.3 million, including $614.9 million in direct medical expenses

and $54.3 million in lost work days.171 In 2016, there were 18,200 Emergency Room visits and

1,900 hospitalizations for asthma across Minnesota.172 In 2017, there were 55 deaths due to

asthma.173

       160.    The heat waves and hot weather caused by climate change also exacerbate air

pollution.174 Across Minnesota, data from the Minnesota Pollution Control Agency in 2013

showed that roughly 2,000 to 4,000 deaths, 500 additional hospital stays, and 800 emergency

room visits were partly attributable to air pollution from ozone and particulate matter.175




167
    Centers for Disease Control & Prevention, Climate Change Decreases the Quality of the Air
We Breathe, https://www.cdc.gov/climateandhealth/pubs/AIR-QUALITY-Final_508.pdf
[https://perma.cc/SF6N-JKWL].
168
    Sabit Cakmak et al., Does air pollution increase the effect of aeroallergens on hospitalization
for asthma? 129 J. Allergy Clin. Immunol. 228-31 (2012).
169
    Minn. Dept. of Health, Asthma in Minnesota, https://data.web.health.state.mn.us/asthma
[https://perma.cc/RT6S-ZTV2].
170
    Minn. Dept. of Health, Asthma Quick Facts, https://www.health.state.mn.us/diseases/
asthma/data/quickfacts.html [https://perma.cc/8WNE-G6NR].
171
    Id.
172
    Id.
173
    Id.
174
    Rebecca Hersher, Climate change undercuts air pollution improvements, MPR News (Apr.
21, 2020), https://www.mprnews.org/story/2020/04/21/npr-climate-change-undercuts-air-
pollution-improvements [https://perma.cc/9ANL-8CM5].
175
    David Bael & Kathy Raleigh, Life and Breath: How Air Pollution Affects Health in
Minnesota (June 2019).



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        161.   Vulnerable populations such as the disabled, the elderly, children, people who live

alone, people of color, and less-resourced communities are more likely to suffer health effects

from higher air temperatures, flooding, and air pollution.176

        162.   Climate change is expected to shift the geographic range and the distribution of

disease-carrying insects and pests, exposing more Minnesotans to ticks that carry Lyme disease

and mosquitoes that transmit viruses such as West Nile.177 Incidence of tick-borne illness (Lyme,

babesiosis, and human anaplasmosis) in Minnesota increased 742% over a 16-year period, from

278 cases in 1996 to 2,063 cases in 2011.178 In Minnesota, increasing temperatures and the

expected accompanying changes in seasonal patterns are expected to result in earlier seasonal

tick activity and an expansion in tick habitat range, increasing the risk of human exposure to

ticks.179

        163.   West Nile virus is the leading cause of mosquito-borne disease in the United

States.180 Climate change will impact the incidence of this potent virus.181 The Minnesota

Department of Health details the fluctuating course of West Nile Virus disease with 821 cases

from 2002 to 2018.182 According to the projections of the Fourth National Climate Assessment:



176
    IPCC 5th Assessment at 717.
177
    Fourth National Climate Assessment Ch. 21: Midwest, at 899.
178
    Stacie J. Robinson et al., Disease Risk in a Dynamic Environment: The Spread of Tick-borne
Pathogens in Minnesota, USA, 12 Ecohealth 152-63 (2015).
179
    Igor Dumic & Edson Severnini, Ticking Bomb: The Impact of Climate Change on the
Incidence of Lyme Disease, Can. J. Infect. Dis. Med. Microbiol. 1-10 (2018).
180
    Centers for Disease Control and Prevention, West Nile Virus, https://www.cdc.gov/westnile/
index.html [https://perma.cc/Z96D-8U3Q].
181
    Charles B. Beard et al., U.S. Global Change Research Program, Ch. 5: Vectorborne Diseases,
at fig. 5.3, West Nile Virus, http://dx.doi.org/10.7930/J0765C7V [https://perma.cc/VN8T-
4FVK].
182
    Minn. Dept. of Health, Reported Cases of West Nile Virus Disease in Minnesota by Year,
2002-2018 (n=821), https://www.health.state.mn.us/diseases/westnile/casesyear.pdf
[https://perma.cc/7KUR-9MZY].



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       Annual national cases of West Nile neuroinvasive disease are projected to more
       than double by 2050 due to increasing temperatures, among other factors,
       resulting in approximately $1 billion per year in hospitalization costs and
       premature deaths under a higher [emissions] scenario []. In this same scenario, an
       additional 3,300 cases and $3.3 billion in costs (in 2015 dollars) are projected
       each year by the end of the century. Approximately half of these cases and costs
       would be avoided under a lower [emissions] scenario [].183

                                          Ecosystem Harm

       164.    Minnesota contains large acreages of state forests184 and state parks185 that

provide significant economic, ecological, and recreation benefits to the State’s population.186

These forest resources are being and will continue to be impacted by climate change.187 Climate-

change-driven shifts in precipitation patterns, altered disturbance regimes, and increased

frequency of late-season moisture stress amplify the effects of existing forest stressors such as

invasive species, insect pests, and plant diseases.188

       165.    As just one example, “As of 2017, the Minnesota Department of Natural

Resources Forest Health Unit reported that more than 440,000 acres of tamarack were in some

stage of infestation by the eastern larch beetle.”189

       The absence of an obligatory overwintering period, combined with longer
       growing seasons brought by warming temperatures, may allow for multiple
       generations per year on a consistent basis. This switch in life history results in

183
    Fourth National Climate Assessment Chapter 14: Human Health.
184
    Minn. Dept. of Nat. Res., State Forest Map, https://www.dnr.state.mn.us/state_forests/
map.html [https://perma.cc/Q6Q2-NW6N].
185
    Minn. Dept. of Nat. Res., State Park Map, https://www.dnr.state.mn.us/state_parks/map.html
[https://perma.cc/JW9H-NB83].
186
    Minn. State Parks, Strategic Plan 2006-2011, 7.
187
    Lee Frelich, Climate Change Impacts in Minnesota: Biological Resources, slides 39-54 (Jan.
17, 2019), https://www.house.leg.state.mn.us/comm/docs/4eb2e359-1009-4739-ba16-
e601b83d0921.pdf [https://perma.cc/PW42-ECKM].
188
    Chris Swanston et al., Vulnerability of forests of the Midwest and Northeast United States to
climate change, 146 Climatic Change 103-16 (2018).
189
    Jess Hartshorn, Eastern Larch Beetle Outbreak Keeps Going When Winter’s Not So Cold,
Entomology Today (2018), https://entomologytoday.org/2018/04/18/eastern-larch-beetle-
outbreak-keeps-going-winter-not-cold/ [https://perma.cc/5Y5R-RGW2].



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        faster spread and increased tree mortality. Warmer winters are also presumably
        causing less winter mortality for overwintering beetles. In addition to the
        exploding populations of beetles, warmer winters mean less access for loggers to
        manage tamarack stands, which typically require frozen ground to operate
        machinery.190

                                         Planning Costs

        166.    Minnesota’s natural resource managers are incorporating climate adaptation into

land management, taking steps such as increasing the diversity of trees and introducing species

suitable for a sustainable climate.191 But planning and implementation actions come at significant

cost to the State.192

        167.    The Minnesota Department of Health is planning for the likelihood that more

Minnesotans will be seeking emergency help on hotter days.193 The State of Minnesota, through

the Minnesota Department of Health and local health agencies, has provided public education to

some vulnerable communities about central cooling centers where people could go for relief, and

has incurred costs educating the public about what to do in extreme heat.194

        168.    Minnesota is undertaking extensive planning efforts across state agencies, as well

as funding independent research efforts, to assess the State’s vulnerability to a broad range of

climate change-related impacts and to develop adaptation and resilience strategies.195




190
    Id.
191
    Minn. Dept. of Nat. Res., What DNR is Doing, https://www.dnr.state.mn.us/climate/
climate_change_info/what-dnr-doing.html [https://perma.cc/B5GE-N579].
192
    Todd Ontl et al., Adaptation pathways: ecoregion and land ownership influences on climate
adaptation decision-making in forest management, 146 Climatic Change 75-88 (2018).
193
    Minn. Dept. of Health, Extreme Heat Toolkit: Preparing Minnesota for Extreme Heat Events
3-9 https://www.health.state.mn.us/communities/environment/climate/docs/toolkit_chapter3.pdf
[https://perma.cc/XT6E-3QSW].
194
    Minn. Dept. of Health, Extreme Heat Events,
https://www.health.state.mn.us/communities/environment/climate/extremeheat.html.
195
    Minn. Pollution Control Agency, Adapting to Climate Change in Minnesota (2017).



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       169.    Since 2009, 15 state departments and agencies have been collaborating on climate

adaptation through the Interagency Climate Adaptation Team, including sharing information on

the hundreds of agency research and planning projects that help Minnesota evaluate, analyze,

mitigate, and adapt to climate change.196

       170.    According to a survey completed by the Minnesota Pollution Control Agency in

2016, 17.5% of state agencies, local units of government, and tribal governments have at least

one type of plan or planning effort that addresses climate adaptation.197

       171.    By mid-century, without mitigation, the Midwest is projected to experience

substantial loss of life, worsened health conditions, and economic impacts estimated in the

billions of dollars as a result of climate change.198

 DEFENDANTS’ CAMPAIGN OF DECEPTION LED TO INCREASED PURCHASE AND CONSUMPTION
  OF FOSSIL FUELS, AND EXACERBATED THE COSTS OF ADAPTING TO AND MITIGATING THE
      ADVERSE IMPACTS OF THE CLIMATE CRISIS, WHICH HAS HARMED MINNESOTA

       172.    By 1982, Defendants recognized that there was broad consensus among scientists

that human-caused climate change had the potential for catastrophic consequences. Defendants

knew that burning fossil fuels was the primary cause of increasing concentrations of greenhouse

gases in the atmosphere and they knew that reduction of greenhouse-gas emissions had to occur

quickly in order to mitigate these catastrophic consequences. Defendants did not publicize this

knowledge and instead affirmatively concealed it by publishing contradictory statements.

       173.    Consumers and the public typically rely on the type of information disseminated

by Defendants (either directly or through outside organizations) when making decisions about

purchasing or demanding regulation of potentially harmful products.


196
    Id.
197
    Id.
198
    Fourth National Climate Assessment Ch. 21: Midwest.



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       174.    Defendants’ efforts to deceive regarding the consequences of the normal use of

their fossil-fuel products; their efforts to conceal the hazards of those products from consumers;

their promotion of their fossil-fuel products despite knowing the dangers associated with those

products; their dogged campaign against regulation of those products based on falsehoods,

omissions, and deceptions; and their failure to pursue less hazardous alternative products

available to them unduly inflated the market for fossil-fuel products. Consequently, substantially

more greenhouse gases have been emitted to the environment than would have been absent that

conduct.

       175.    Defendants’ conduct caused a substantial portion of global atmospheric

greenhouse-gas concentrations, and the attendant historical, projected, and committed disruptions

to the environment—and consequent injuries to Minnesota—associated therewith.

       176.    Delayed efforts to curb anthropogenic greenhouse-gas emissions have increased

environmental harms and increased the magnitude and cost to address harms, including to

Minnesota, that have already occurred or are locked in by previous emissions. As greenhouse-

gas pollution accumulates in the atmosphere, some of which does not dissipate for potentially

thousands of years (namely CO2), climate changes and consequent adverse environmental

changes compound, and their frequencies and magnitudes increase. As those adverse

environmental changes compound and their frequencies and magnitudes increase, so too do the

physical, environmental, economic, and social injuries resulting therefrom.

       177.    Therefore, Defendants’ campaign to obscure the science of climate change so as

to protect and expand the use of fossil fuels greatly increased and continues to increase the harms

and rate of harms suffered by Minnesota and its residents. Defendants, individually and together,

have substantially contributed to Minnesota’s climate crisis-related injuries.




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       178.    Despite Defendants’ knowledge of the foreseeable, measurable, and significant

harms associated with the unabated consumption and use of their fossil-fuel products, and

despite Defendants’ knowledge of technologies and practices that could have helped to reduce

the foreseeable dangers associated with their fossil-fuel products, Defendants continued to

wrongfully market and promote heavy fossil-fuel use and mounted a campaign to obscure the

connection between their fossil-fuel products and the climate crisis, dramatically increasing the

cost of abatement, including in Minnesota.

       179.    Despite their knowledge of the foreseeable harms associated with the

consumption of Defendants’ fossil-fuel products, and despite the existence and fossil-fuel

industry knowledge of opportunities that would have reduced the foreseeable dangers associated

with those products, Defendants wrongfully and falsely promoted, campaigned against regulation

of, and concealed the hazards of use of their fossil-fuel products.

       180.    As a result of Defendants’ campaign of deception, consumers did not change

fossil-fuel consumption behavior in the same manner that they would have if Defendants had not

obfuscated the scientific consensus, the potential for catastrophic consequences, the role of

Defendants’ products, and the need to act quickly.

       181.    If consumer behavior had changed sooner, fewer greenhouse gases would have

been emitted through the use of Defendants’ products. These additional greenhouse gases have

accelerated the rate of climate change.

       182.    The consequences of climate change would have been delayed and/or reduced if

consumers and the public had not been deceived about the true harms posed by consuming

fossil-fuel products.




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       183.    This accelerated rate of climate change has led to more harm suffered by

Minnesota. Defendants’ misleading statements and deceptive practices, directly and through

other organizations, have contributed to and exacerbated Minnesota’s climate-change injuries.

                                      CLAIMS FOR RELIEF

          COUNT I: PREVENTION OF CONSUMER FRAUD ACT VIOLATION
                        (AGAINST ALL DEFENDANTS)

       184.    Minnesota realleges and incorporates by reference paragraphs 1-183 of this

Complaint.

       185.    Minnesota Statutes, section 325F.69, subdivision 1, provides:

       The act, use, or employment by any person of any fraud, false pretense, false
       promise, misrepresentation, misleading statement or deceptive practice, with the
       intent that others rely thereon in connection with the sale of any merchandise,
       whether or not any person has in fact been misled, deceived, or damaged thereby,
       is enjoinable as provided in section 325F.70.

       186.    Defendants are “persons” within the meaning of Minn. Stat. § 325F.69.

       187.    Fossil fuels are “merchandise” within the meaning of Minn. Stat. § 325F.69.

       188.    Defendants repeatedly violated Minnesota Statutes, section 325F.69, subd. 1, by

using fraud, false pretense, false promise, misrepresentation, misleading statements, or deceptive

practices in the connection with the sale of fossil fuels in Minnesota.

       189.    Defendants also repeatedly violated Minnesota Statutes, section 325F.69, subd. 1,

by omitting material information in the course of marketing and selling their products in

Minnesota such that their failures to sufficiently disclose such material information constituted

deceptive and fraudulent practices.

       190.    Defendants made these fraudulent, false, and misleading statements and

omissions with the intent that others rely on them in connection with the sale of fossil fuels.

       191.    Fossil-fuel consumers are “others” within the meaning of Minn. Stat. § 325F.69.



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        192.    The general public are “others” within the meaning of Minn. Stat. § 325F.69.

        193.    Regulators and policy makers are “others” within the meaning of Minn. Stat.

§ 325F.69.

        194.    There is a causal nexus between Defendants’ deceptive and fraudulent conduct,

representations, and material omissions described in this Complaint and the harm incurred by the

State and its residents.

        195.    Defendants’ conduct, practices, actions, and material omissions described in this

Complaint constitute multiple, separate violations of Minnesota Statutes, section 325F.69.

        196.    Defendants engaged in a civil conspiracy with each other, with organizations not

directly engaged in the sale of fossil-fuel products, and with individuals to mislead the public and

decision makers about the consequences of using their products. Defendants are jointly and

severally liable, along with other co-conspirators, for that conspiratorial conduct and for the

resulting harm suffered by the State as a result of their conspiracy.

        197.    The State and Minnesotans have conferred a benefit upon Defendants by paying

for the costs of the harms caused by Defendants’ improper and unlawful practices. Defendants

knowingly accepted and retained such benefits. Further, Defendants have failed to pay for the

consequences of their unlawful conduct.

        198.    Because of the conduct, practices, actions, and material omissions described in

this Complaint, Defendants obtained enrichment they would not otherwise have obtained. The

enrichment was without justification and the State lacks an adequate remedy provided by law.

     COUNT II: FAILURE TO WARN – STRICT AND NEGLIGENT LIABILITY
  (AGAINST ALL DEFENDANTS EXCEPT AMERICAN PETROLEUM INSTITUTE)

        199.    Minnesota realleges and incorporates by reference paragraphs 1-183 of this

Complaint.



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       200.     A manufacturer has a duty to warn end users of a dangerous product if it is

reasonably foreseeable that an injury could occur in its use. Where the manufacturer has actual or

constructive knowledge of danger to users, the manufacturer has a duty to give warning of such

dangers.

       201.     The injuries that Minnesotans and the state of Minnesota are experiencing—and

will experience—were well known to the Defendants because Defendants’ own scientists

predicted them decades ago. Defendants had actual knowledge of the danger that continuing to

consume fossil fuels would have for climate change, the catastrophic effects of climate change,

and the need to act urgently to address it or lose the ability to prevent the consequences from

coming about.

       202.     Given Defendants’ actual knowledge of the injury that would result from the use

of fossil fuels, it was not merely reasonably foreseeable that an injury could occur. Instead, the

injuries that Minnesota and Minnesotans are experiencing now are the types of injuries that

Defendants knew the use of their products would bring about.

       203.     Given their knowledge of the likelihood of injury from the use of their products,

Defendants had a duty to give warning of the injuries they knew their products were going to

cause. Yet they did not.

       204.     Defendants instead worked to undermine any warning by affirmatively

misrepresenting the hazardous nature of their products by fraud, false and misleading statements,

and omission. Defendants affirmatively took steps to undermine legitimate science highlighting

the danger of purchasing and consuming their products, thereby engaging in a conspiracy to

deceive consumers and the public about the certainty of the science of climate change, the role




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that their products play in causing climate change, the consequences of continued unabated

fossil-fuel emissions, and the need to act quickly.

       205.     When they opted to speak, Defendants took on the additional duty of speaking

truthfully and fully, such as by warning consumers of the harms that they knew their products

posed. They did not speak truthfully, and they did not warn of the known hazards that their

products posed to consumers.

       206.     Defendants engaged in a civil conspiracy with each other, with organizations not

directly engaged in the sale of fossil-fuel products, and with individuals to mislead the public and

decision makers about the consequences of using their products. Defendants are jointly and

severally liable, along with other co-conspirators, for that conspiratorial conduct and for the

resulting harm suffered by the State as a result of their conspiracy designed to prevent warnings

to consumers.

       207.     Defendants failed to exercise ordinary care after discovering the hazards that their

products presented to the public, and their repeated attempts to obfuscate the science were not

the result of honest misjudgment.

       208.     Defendants’ failure to exercise ordinary care by warning the public of the hazard

that burning fossil fuels would cause is the proximate cause of climate-change injury to

Minnesotans and the State.

       209.     Defendants’ acts constitute deliberate disregard for the rights or safety of others.

Defendants had actual knowledge of the facts and intentionally disregarded them, creating a high

probability of injury to the rights of others. They deliberately proceeded to act in conscious or

intentional disregard of, or with indifference to, the rights of others.




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       210.      The State and Minnesotans have conferred a benefit upon Defendants by paying

for the costs of the harms caused by Defendants’ improper and unlawful practices. Defendants

knowingly accepted and retained such benefits. Further, Defendants have failed to pay for the

consequences of their unlawful conduct.

       211.      Because of the conduct, practices, actions, and material omissions described in

this Complaint, Defendants obtained enrichment they would not otherwise have obtained. The

enrichment was without justification and the State lacks an adequate remedy provided by law.

                      COUNT III: FRAUD AND MISREPRESENTATION
                             (AGAINST ALL DEFENDANTS)

       212.      Minnesota realleges and incorporates by reference paragraphs 1-183 of this

Complaint.

       213.      Defendants made misrepresentations of material facts about the certainty and

consensus about the science of climate change, the role their products played in causing climate

change, the consequences of climate change, and the need to act quickly to mitigate climate

change and the harms that it would bring.

       214.      Defendants knew or should have known that the science of climate change was

certain and that there was a scientific consensus about the science and the role of fossil fuels as

early as 1982, that the consequences of climate change could be catastrophic, and that we needed

to act quickly to mitigate the worst injuries from climate change.

       215.      Minnesota consumers, regulators, policy makers, and the public relied on these

misrepresentations, allowing for the purchase of more fossil-fuel products than otherwise would

have occurred.

       216.      Consumers’, regulators’, policy makers’, and the public’s reliance on Defendants’

misrepresentations in continuing to purchase and use Defendants’ fossil-fuel products was



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reasonable because Defendants held themselves out as experts and failed to disclose financial

relationships with seemingly independent experts.

       217.    Minnesota suffered harm and loss of money because of Defendants’

misrepresentations.

       218.    Minnesota did not, and could not have, understood the intentional and deceptive

nature of Defendants’ statements about climate change until Defendants’ superior knowledge

during earlier timeframes was revealed by journalists in 2015 and later.

       219.    Defendants engaged in a civil conspiracy with each other, with organizations not

directly engaged in the sale of fossil-fuel products, and with individuals to mislead the public and

decision makers about the consequences of using their products. Defendants are jointly and

severally liable, along with other co-conspirators, for this conspiratorial conduct and the resulting

harm suffered by the State as a result of their conspiracy.

       220.    The State and Minnesotans have conferred a benefit upon Defendants by paying

for the costs of the harms caused by Defendants’ improper and unlawful practices. Defendants

knowingly accepted and retained such benefits. Further, Defendants have failed to pay for the

consequences of their unlawful conduct.

       221.    Because of the conduct, practices, actions and material omissions described in this

Complaint, Defendants obtained enrichment they would not otherwise have obtained. The

enrichment was without justification and the State lacks an adequate remedy provided by law.

                       COUNT IV: DECEPTIVE TRADE PRACTICES
                           (AGAINST ALL DEFENDANTS)

       222.    Minnesota realleges and incorporates by reference paragraphs 1-183 of this

Complaint.

       223.    Minnesota Statutes section 325D.44, subdivision 1 reads in pertinent part:



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               A person engages in a deceptive trade practice when, in the course of
               business, vocation, or occupation, the person:
               ...
               (5)          represents that goods or services have sponsorship, approval,
               characteristics, ingredients, uses, benefits, or quantities that they do not
               have;
               (7)        represents that goods or services are of a particular standard,
               quality, or grade . . . if they are of another;
               (13)      engages in any other conduct which similarly creates a likelihood
               of confusion or of misunderstanding.

       224.    Defendants are “persons” within the meaning of this statute.

       225.    In the course of their business, vocation, or occupation, Defendants have

repeatedly violated Minnesota Statutes section 325D.44, subdivision 1 by engaging in the

deceptive trade practices described in this Complaint. Defendants’ deceptive acts and practices

have the tendency or capacity to deceive and/or mislead the State and its residents and therefore

constitute multiple separate deceptive trade practices.

       226.    Defendants engaged in conduct that created a likelihood of confusion or

misunderstanding about their products by, among other things, engaging in a conspiracy to

deceive consumers and the general public about the certainty of the science of climate change,

the role that their products play in causing climate change, the consequences of continued

unabated fossil-fuel emissions, and the need to act quickly.

       227.    Defendants also repeatedly violated Minnesota Statutes section 325D.44,

subdivision 1 by, among other things, omitting material information in the course of marketing

and selling their fossil-fuel products that caused a likelihood of confusion or misunderstanding

by failing to sufficiently disclose that consuming their products caused climate change.

       228.    Defendants’ deceptive practices have exacerbated the harms that the State and its

citizens have suffered due to climate change. These harms will continue into the future.




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        229.    Given the nature and quality of the representations that Defendants made, the

actual and special knowledge they had, and the other circumstances described in this Complaint,

Defendants had a duty to sufficiently disclose all material facts to potential consumers in

connection with the sale and marketing of their fossil-fuel products to Minnesotans. Defendants’

failure to disclose this material information constitutes additional deceptive trade practices in

violation of Minnesota Statutes section 325D.44, subdivision 1.

        230.    There is a causal nexus between Defendants’ deceptive and fraudulent conduct,

representations, and material omissions described in this Complaint and the harm incurred by the

State and its residents.

        231.    Defendants’ conduct, practices, actions, and material omissions described in this

Complaint constitute multiple, separate violations of Minnesota Statutes section 325D.44.

        232.    Defendants engaged in a civil conspiracy with each other, with organizations not

directly engaged in the sale of fossil-fuel products, and with individuals to mislead the public and

decision makers about the consequences of using their products. Defendants are jointly and

severally liable, along with other co-conspirators, for this conspiratorial conduct and for the

resulting harm suffered by the State as a result of their conspiracy.

        233.    The State and Minnesotans have conferred a benefit upon Defendants by paying

for the costs of the harms caused by Defendants’ improper and unlawful practices. Defendants

knowingly accepted and retained such benefits. Further, Defendants have failed to pay for the

consequences of their unlawful conduct.

        234.    Because of the conduct, practices, actions, and material omissions described in

this Complaint, Defendants obtained enrichment they would not otherwise have obtained. The

enrichment was without justification and the State lacks an adequate remedy provided by law.




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       COUNT V: VIOLATION OF FALSE STATEMENT IN ADVERTISING ACT
                       (AGAINST ALL DEFENDANTS)

       235.    Minnesota realleges and incorporates by reference paragraphs 1–183 of this

Complaint.

       236.    The False Statement in Advertising Act (FSAA) provides:

       Any person, firm, corporation, or association who, . . . with intent to increase the
       consumption [of any merchandise, securities, or service] . . . makes, publishes,
       disseminates, circulates, or places before the public, or causes, directly or
       indirectly, to be made, published, disseminated, circulated, or placed before the
       public, in this state . . . an advertisement of any sort regarding merchandise . . . or
       anything so offered to the public, for use, consumption, purchase, or sale, which
       advertisement contains any material assertion, representation, or statement of fact
       which is untrue, deceptive, or misleading, shall, whether or not pecuniary or other
       specific damage to any person occurs as a direct result thereof, be guilty of a
       misdemeanor, and any such act is declared to be a public nuisance and may be
       enjoined as such.

Minn. Stat. § 325F.67.

       237.    Fossil fuels are “merchandise” within the meaning of Minnesota Statutes section

325F.67.

       238.    Defendants repeatedly violated Minnesota Statutes, section 325F.67 by making,

publishing, disseminating, circulating, and/or placing before the public advertisements regarding

fossil fuels containing material assertions, representations, and/or statements of facts which were

untrue, deceptive, and or misleading.

       239.    Defendants made the aforementioned advertisements with the intent to increase

the consumption of fossil fuels.

       240.    Defendants’ conduct, practices, actions, and material omissions described in this

Complaint constitute multiple, separate violations of Minnesota Statutes section 325F.67.

       241.    Defendants engaged in a civil conspiracy with each other, with organizations not

directly engaged in the sale of fossil-fuel products, and with individuals to mislead the public



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about the consequences of using their products. Defendants are jointly and severally liable, along

with other co-conspirators, for this conspiratorial conduct and for the resulting harm suffered by

the State as a result of their conspiracy.

         242.   Because of the conduct, practices, actions, and material omissions described in

this Complaint, Defendants obtained enrichment they would not otherwise have obtained. The

enrichment was without justification and the State lacks an adequate remedy provided by law.

                                     REQUEST FOR RELIEF

WHEREFORE, the State of Minnesota, by its Attorney General, Keith Ellison, respectfully asks

this Court to award judgment against Defendants as follows:

         243.   Determine that Defendants’ acts described in this Complaint constitute common

law fraud, strict and negligent failure to warn, and multiple separate violations of Minnesota

Statutes sections 325D.44, 325F.67, and 325F.69;

         244.   Enjoin Defendants and their employees, officers, directors, agents, successors,

assignees, affiliates, merged or acquired predecessors, parent or controlling entities, subsidiaries,

and all other persons acting in concert or participation with them from engaging in conduct that

violates Minnesota Statutes sections 325D.44, 325F.67, or 325F.69;

         245.   Order Defendants to disclose, disseminate, and publish all research previously

conducted directly or indirectly by themselves or their respective agents, affiliates, servants,

officers, directors, employees, and all persons acting in concert with them that relates to the issue

of climate change;

         246.   Order Defendants to fund a corrective public education campaign in Minnesota

relating to the issue of climate change, administered and controlled by an independent third

party;




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       247.    Award judgment against Defendants for maximum civil penalties pursuant to

Minnesota Statutes section 8.31, subdivision 3 for each separate violation of Minnesota law;

       248.    Award judgment against Defendants for restitution pursuant to Minnesota Statutes

section 8.31, Minnesota common law, the parens patriae doctrine, and the general equitable

powers of this Court to remedy the great harm and injury to the State resulting from Defendants’

unlawful conduct;

       249.    Order ExxonMobil and Koch to disgorge all profits made as a result of their

unlawful conduct;

       250.    Award Minnesota the costs of investigation and this action, attorneys’ fees, expert

consultant and expert witness fees, and all other costs and disbursements as authorized by

Minnesota Statute section 8.31, subd. 3a; and

       251.    Grant such additional relief as the Court deems just and proper.

                                         JURY DEMAND

The State demands a jury trial for all issues pled herein that are triable by a jury.


Dated: June 24, 2020 ____________                  KEITH ELLISON
                                                   MINNESOTA ATTORNEY GENERAL

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                                   MINN. STAT. § 549.211

                                   ACKNOWLEDGMENT

       The party on whose behalf the attached document is served acknowledges through its

undersigned counsel that sanctions, including reasonable attorney fees and other expenses, may

be awarded to the opposite party or parties pursuant to Minn. Stat. § 549.211 (2020).



Dated: June 24, 2020


                                                /s/ Leigh Currie
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                                                ATTORNEY FOR STATE OF MINNESOTA
                             62-CV-20-3837
                                                                      Filed in District Court
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